       Exhibit 2




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                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               Civil No. 5:20-cv-00336-D

SSG SHANE PAGE, BRITTANY PAGE,                        )
SPC SPENSER GANSKE, EMILY                             )
GANSKE, SFC CHRISTOPHER WILKES,                       )
ASHLEY WILKES, CPL TIMOTHY                            )
MURPHY, and KATELYN MURPHY,                           )
individually and on behalf of others similarly        )
situated,                                             )
                                                      )
       Plaintiffs,                                    )
                                                      )
vs.                                                   )
                                                      )
BRAGG COMMUNITIES, LLC, CORVIAS                       )
MANAGEMENT-ARMY, LLC,                                 )
BRAGG-PICERNE PARTNERS, LLC, and                      )
CORVIAS CONSTRUCTION, LLC,                            )
                                                      )
       Defendants.                                    )

              CORVIAS MANAGEMENT–ARMY, LLC'S RESPONSES TO
             PLAINTIFFS' FIRST SET OF REQUESTS FOR PRODUCTION

       Defendant Corvias Management-Army, LLC ("Corvias Management"), hereby responds to

Plaintiffs' First Set of Requests for Production of Documents ("Requests"), as follows:

       Subject to the reservations and qualifications set forth herein, Corvias Management will

produce responsive documents and things which are in its possession, custody, or control. This

response is expressly without waiver of any of the following:

       A.      the right to object on any ground to the use of any of the documents produced in

any other subsequent proceeding or at the trial of this or any other action;

       B.      the right to object on any ground and at any time to any demand for further

responses to these or any other requests for production of documents or any other discovery

requests or procedures involving or relating to the subject matter of this request for production

of documents; or, the right at any time to revise, correct, add to, supplement or clarify any of



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thefollowing responses.

       This response is further subject to the following qualifications and reservations:

       D.      By responding affirmatively to any request, Corvias Management is in no manner

expressing or admitting that they are in possession or control of therequested documents or things.

       E.      By producing any document in response to one or more of the requests, Corvias

Management is in no manner identifying the document, or otherwise admitting to its authenticity.


                     RECURRING OBJECTIONS AND RESPONSES

       The following Recurring Objections and Responses are applicable to, and are hereby

incorporated by reference into, each of Corvias Management's Specific Objections and Responses

to each of Plaintiffs' Requests:

       1.      Corvias Management objects to the Requests in each and every instance in which the

information requested is protected by the attorney-client privilege, work product doctrine, the joint

defense privilege, or any other applicable privilege or immunity. Corvias Management hereby

claims such privileges and protections to the full extent implicated by any specific request.

       2.      Corvias Management objects to the Requests in each and every instance in which

they are beyond the permissible scope of discovery as provided by the applicable Rules of Civil

Procedure, Local Rules, orders of this Court or are an annoyance, embarrassing, oppressive, unduly

burdensome, expensive, or otherwise not proportional to the needs of the case.

       3.      Corvias Management objects to the Requests in each and every instance in which

they are overbroad, unduly burdensome, and not relevant to any party's claims or defenses.

       4.      Corvias Management objects to each request to the extent and degree to which it calls

for the production of documents or things not within its custody or control.




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       5.      Corvias Management objects to the Requests to the extent they fail to define a

time period so that information sought is within the scope of the time period for which a class is

sought to be certified in this Action, which time can start no earlier than June 20, 2017, based

upon the applicable statute of limitations. Accordingly, Corvias Management limits their Specific

Responses to information from June 20, 2017, to the present. To the extent it may be more

practical to provide information generated or pertinent to a period of time prior to June 20, 2017,

Corvias Management, at its option, may choose to do so and any such production does not

constitute a waiver of this or any other objection.

       6.      Corvias Management objects to the Plaintiffs' definitions of "Defendant," "you,"

or "Corvias," "person," and "persons" to the extent that such definitions seek documents that are not

in the possession of Corvias Management. It further object to these definitions on the basis that they

seek information that is protected by the attorney-client privilege, work product doctrine, the joint

defense privilege, or any other applicable privilege or immunity.

       7.      Corvias Management objects to the Requests to the extent they seek information

that does not pertain to family homes at Fort Bragg. These responses are limited to Plaintiffs'

allegations regarding family homes at Fort Bragg.

       8.      Corvias Management objects to the Plaintiffs' definition of "Document" to the

extent it seeks to impose obligations upon Corvias Management beyond those authorized by

applicable federal or local rules, or orders of this Court.

       9.      Corvias Management objects to each request which identifies a document by use

of the terms "concerning," "relating to," "referring to," "supporting," or "tending to support" to

the extent that such terms fail to describe the document or thing sought to be produced with

reasonable particularity as required by Rule 34(b) of the Rules of Civil Procedure.



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       10.     Corvias Management further objects to each request which identifies a document

by use of the terms "concerning." "relating to," "referring to," or "supporting" on the grounds that

the request improperly calls for revealing the mental impressions and legal conclusions of counsel

in violation of the work product doctrine and because the request is, in effect, a contention

interrogatory governed by the provisions of Rule 33 of the Rules of Civil Procedure rather than

those of Rule 34.

       11.     Corvias Management objects to any request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action or which were

prepared in contemplation of or in response to the instant litigation by Corvias Management or

counsel thereof, or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Corvias Management concerning the litigation.

       12.     Corvias Management has interpreted, objected to, and responded to these

Requests in accordance with the applicable rules of the Federal Rules of Civil Procedure and the

local rules of the United States District Court for the Eastern District of North Carolina (the

"Court"), plain English usage, and to the extent not specifically challenged by objection, the

definitions and instructions included with the Requests.

       13.     Corvias Management will only begin rolling production of any responsive

documents once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order and the parties enter into an ESI Protocol.

       14.     These recurring objections apply to each numbered response below as if set forth

in full therein. An objection or statement, outlined above or otherwise, may be specifically

referred to in responses to certain requests for the purpose of clarity only and the failure to



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specifically refer to any objection or statement set forth above shall not be construed as a waiver

of such objection or statement, even if other objections or statements are specifically stated in

response to the particular request.

        Subject to and without waiving these recurring objections, Corvias Management

responds to the requests as follows:

                        SPECIFIC RESPONSES AND OBJECTIONS

REQUEST FOR PRODUCTION NO. 1:

        With regard to the entry of Picerne Military Housing (subsequently in 2013 renamed

Corvias) and the Army into the MHPI (Military Housing Privatization Initiative) partnership for

Fort Bragg in 2003, which continues today, please produce:

        a.       The documents 1 provided by Picerne to the Army during the process of bidding for

the Fort Bragg MHPI project. This should include but not be limited to any formal bid materials

sent to the government by Picerne, as well as materials related to the oral and visual presentation

made by Picerne as referenced by John Picerne in public statements; any documents (including

not just written materials but slides, audiovisual, etc.) making up the Picerne proposal; documents

relating to the number of new homes and renovations planned or promised; related to what repair

services and general maintenance would look like, from fixing plumbing and electrical to how the

company would help families move in and out; and other such materials. 2

        b.       Any documents constituting or reflecting the request for proposal or request for bid

submissions issued by (or on behalf of) the Army to which Picerne responded.


1
  Throughout, "document" is defined in the broad sense meant in discovery, to include inter alia both written
hardcopy documents, electronic documents, records, emails, spreadsheets, etc., as well as other media such as
recordings, videos, photos.
2
  This would include the materials described by John Picerne in prior public statements, see Cindy Atoji Keene, His
mission: better military housing, Boston Globe, July 29, 2012, available at
http://archive.boston.com/business/articles/2012/07/29/for_developer_john_picerne_building_managing_housing_fo
r_military_families_became_a_vocation/ (last accessed Jan. 2, 2022).


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       c.       The 50 year ground lease including all exhibits or appendixes and any amendments

or modifications to it over time, as well as any changes over time to its exhibits or appendixes.

       d.       All environmental baseline studies for Fort Bragg housing conducted by Corvias

and U.S.A. prior to execution of the 50 year ground lease.

       e.       The property management agreement.

       f.       The Community Development and Management Plan.

       g.       The Project Management Procedures and Protocols.

       h.       Documents reflecting the establishment of Bragg Communities LLC in 2003,

including but not limited to its LLC operating agreement.

       i.       The LLC operating agreement for Corvias Management-Army, LLC.

       j.       Documents describing or summarizing the $360M Initial Development Period

(2003-2013) and the $1.3B Secondary Development/Reinvestment Period (2014-2053) under the

MHPI arrangements for Fort Bragg. 3

RESPONSE TO REQUEST NO. 1:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in time as it seeks documents over a period of nearly twenty years.

       Corvias Management further objects to this Request as overly broad and vague because

the terms and phrases "environmental baseline studies," "bid materials," "Picerne," "oral and

visual presentation," "the Picerne proposal," "renovations," "planned or promised," "general

maintenance," "fixing," "plumbing," and "electrical" are not defined. Further, Plaintiffs reference


3
 See U.S. Army Residential Communities Initiative (RCI) slides, slide 5, available at
https://mde.state.md.us/programs/Marylander/outreach/Documents/US%20Army%20Residential%20Community%2
0Initiative%20Partners_Innovative%20and%20Successful%20P3%20Model%20Application.pdf (last accessed Jan.
2, 2022).


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alleged public statements made by John Picerne, but fail to identify or describe any such

statements in subpart (a). Corvias Management further objects to the extent that this request seeks

documents from entities other than Corvias Management. Specifically, this Request is an

impermissible fishing expedition into the full operations of multiple distinct limited liability

companies over a period of nearly twenty years, irrespective of the relevance of such document.

       Further, the slides that Plaintiffs reference in FN 3 specifically reference Bragg

Communities, LLC as the entity involved in the MHPI partnership, thus the request in subpart

(d) does not seek documents in the possession of Corvias Management. Finally, Corvias

Management objects to the request for "[d]ocuments describing or summarizing the $360M Initial

Development Period (2003-2013) and the $1.3B Secondary Development/Reinvestment Period

(2014-2053) under the MHPI arrangements for Fort Bragg" as it seeks historical financial

information that is not relevant to any party's current claims or defenses. See e.g., Hester v.

Cottrell Contracting Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4 (E.D.N.C. Apr. 27,

2001) (finding that even where punitive damages were sought financial information is only

discoverable as to the current financial condition). For the foregoing reasons, the Request seeks

information and documents not relevant to or necessary for resolving the disputes in this case,

and thus it is not proportional to the needs of this case. Corvias Management stands on its

objections.

REQUEST FOR PRODUCTION NO. 2:

       Resumes or Curriculum Vitae for the following present or former employees of the

Picerne/Corvias organization:

       a.      John Picerne.

       b.      Cynthia Dale.




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        c.     Sharon Shores.

        d.     Mike Sarisky.

        e.     Kelly Douglas.

        f.     Tim Toohey.

        g.     Heather Fuller.

RESPONSE TO REQUEST NO. 2:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in time. Corvias Management further objects to this Request as overly broad and vague because

the terms and phrases, "present or former employees" and "Picerne/Corvias organization" are

undefined. Corvias Management objects to this Request to the extent it calls for improper legal

conclusions as to the employment statuses of each of the named individuals in the Request.

Corvias Management further objects to this Request on the basis that it seeks the resume or

curriculum vitae of John Picerne. Mr. Picerne is the founder of Corvias and has not had an active

role in the day-to-day management of Fort Bragg during the period at issue in this Action. Corvias

Management further objects that this Request seeks information and documents not relevant to

or necessary for resolving the disputes in this case and thus is not proportional to the needs of this

case.

        Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents if located in a reasonable

and temporally-limited search for the Resumes or Curriculum Vitae of Cynthia Dale, Sharon

Shores, Mike Sarisky, Kelly Douglas, Tim Toohey, and Heather Fuller that are in their possession,




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custody, and/or control, once the parties execute a Stipulated Order Regarding Confidentiality of

Discovery Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 3:

       Documents sufficient to summarize and describe the nature of the "Yardi" property

management software being used by the Defendants' organization relative to Fort Bragg, from

2003 to present, in your possession, custody or control.

RESPONSE TO REQUEST NO. 3:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in time as it apparently seeks documents over a period of nearly twenty years. Corvias

Management further objects to the Request as overly broad and vague because the terms and

phrases, "documents sufficient to summarize and describe the nature of . . . ," "the 'Yardi' property

management software," "being used by," and "organization relative to Fort Bragg," are undefined.

Corvias Management further objects to the extent that this Request seeks documents pertaining

to entities other than Corvias Management and appears to be an impermissible fishing expedition

as to practices and operations of multiple, distinct limited liability companies. Finally, Corvias

Management objects to this Request because it seeks information that is not relevant to any party's

current claims or defenses. For the foregoing reasons, the Request is not proportional to the needs

of this case. Corvias Management stands on its objections.

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents such as any Yardi Training

Manuals located in a reasonable and temporally-limited search, that are in its possession, custody,




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and/or control, once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 4:

       Documents sufficient to identify the various communities constituting the total inventory

of 6000 to 6500 homes or residential units for which Defendant has had any responsibility at Fort

Bragg and/or that are owned by Bragg Communities LLC, including documents sufficient to

reflect which homes were in which communities, from 2003 to present. In your response, please

include any maps or documents reflecting which of those communities each of the residences of

the named Plaintiffs (as alleged in the complaint) are located in.

RESPONSE TO REQUEST NO. 4:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in time as it apparently seeks documents relating to "6000 to 6500 homes or residential

units" over a period of nearly twenty years. Corvias Management further objects to the Request

as overly broad and vague because the terms and phrases, "sufficient to identify," "the various

communities," "homes," "residential units," "responsibility," "owned," "sufficient to reflect,"

"communities," "maps," "residences," "named Plaintiffs," and "complaint" are undefined.

Corvias Management objects to this Request to the extent it calls for improper legal conclusions

as to responsibility and/or ownership of various and unspecified units or pieces of real property.

Corvias Management further objects to discovery related to absent members of the putative class.

       Corvias Management further objects to the extent that this Request seeks documents

pertaining to entities other than Corvias Management and appears to be an impermissible fishing

expedition as to records of multiple, distinct limited liability companies. Corvias Management




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objects to the extent that Plaintiffs seek for Corvias Management to create a map with the location

of the named Plaintiffs' residences, as that imposes discovery obligations greater than those

allowed for under the Federal Rules of Civil Procedure and the applicable Rules and Orders of

the Court. Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent

the limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents located in a reasonable and

temporally-limited search regarding the current neighborhood makeup of family homes leased by

Bragg Communities, LLC and managed by Corvias Management, that are in its possession,

custody, and/or control, once the parties execute a Stipulated Order Regarding Confidentiality of

Discovery Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 5:

       In public statements, Corvias has identified there being between approximately 8 and 11

communities or neighborhoods making up the privatized military housing at Fort Bragg. Please

produce documents, to the extent they exist, in the form of maps, spreadsheets or descriptions

sufficient to identify each community and identify the numbers and addresses of homes within

each community.




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RESPONSE TO REQUEST NO. 5:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms and phrases, "public statements," "between approximately 8 and 11 communities

or neighborhoods," "privatized military housing at Fort Bragg," "map, spreadsheets or

descriptions," "sufficient to identify each community," and "numbers and addresses of homes

within each community" are undefined. Corvias Management further objects as this Request is

duplicative of Request No. 4. Corvias Management further objects on the basis that this request is

ambiguous, overly broad and vague as Plaintiffs reference alleged public statements made by

"Corvias," but fail to identify or describe any such statements. Corvias Management further objects

to this Request to the extent it seeks information related to absent members of the putative class.

       Corvias Management further objects to the extent that this Request seeks documents

pertaining to entities other than Corvias Management and appears to be an impermissible fishing

expedition as to records of multiple, distinct limited liability companies. Corvias Management

objects to the extent that Plaintiffs seek for Corvias Management to create a map with the location

of the named Plaintiffs' residences, as that imposes discovery obligations greater than those

allowed for under the Federal Rules of Civil Procedure and the applicable Rules and Orders of

the Court. Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent

the limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).




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       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents located in a reasonable and

temporally-limited search regarding the current neighborhood makeup of family homes leased by

Bragg Communities, LLC and managed by Corvias Management, that are in its possession,

custody, and/or control, once the parties execute a Stipulated Order Regarding Confidentiality of

Discovery Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 6:

       Please produce documents sufficient to reflect the dates of construction and the ages of the

total group of 6000+ residential units under Corvias management at Fort Bragg; reflecting whether

any units existent when Corvias assumed control in 2003 have since been destroyed or renovated;

and reflecting homes or groups of homes built by Corvias at Bragg since 2003.

RESPONSE TO REQUEST NO. 6:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents and information over a period of nearly twenty

years. Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "sufficient to reflect," "residential units," "under Corvias management," "units,"

"existent," "Corvias," "assumed control," "destroyed," "renovated," "reflecting," "groups of

homes," and "built" are not defined. Corvias Management further objects to the false premise that

it has "built" homes at Fort Bragg. Corvias Management further objects to this Request to the

extent it seeks information related to absent members of the putative class.

       Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney




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client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent

the limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 7:

       Documents reflecting whether any MHPI homes have been renovated since Corvias

(previously Picerne) began operations under the Fort Bragg 50 year ground lease in 2003.

RESPONSE TO REQUEST NO. 7:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents and information over a period of nearly twenty

years. Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "reflecting," "MHPI homes," "renovated," and "operations" are not defined.

Corvias Management further objects to the false premise that it has "renovated" homes at Fort

Bragg. Corvias Management further objects to this Request to the extent it seeks information

related to absent members of the putative class.

       Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent




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the limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 8:

       Documents reflecting rates of occupancy of the homes at Fort Bragg from 2003 to present.

RESPONSE TO REQUEST NO. 8:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in time and seeks documents for a period of nearly twenty years. Corvias Management

further objects to this Request as overly broad and vague because the terms and phrases

"reflecting," "rates of occupancy," and "homes at Fort Bragg" are not defined. Corvias

Management further objects to this Request to the extent it seeks information related to absent

members of the putative class.

       Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent

the limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).




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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 9:

       Documents reflecting whether Corvias/Picerne had an opportunity to inspect or evaluate

housing, or a sample set of housing, at Fort Bragg, before the 2003 50 year ground lease was

signed, and reflecting any such due diligence review, inspection or investigation that occurred

before Corvias/Picerne signed the 50 year ground lease, in order to assess the condition and future

repair and maintenance needs of the existing inventory of homes.

RESPONSE TO REQUEST NO. 9:

        Corvias Management incorporates by reference each of its Recurring Objections as if

 fully set forth herein. Corvias Management further objects to this Request because it is not

 reasonably limited in scope or time as it seeks documents over a period of nearly twenty years.

 Corvias Management further objects to this Request as overly broad and vague because the

 terms and phrases "opportunity," "inspect," "evaluate," "housing," "sample set," "due diligence,"

 "inspection," "Investigation," "assess," "condition," "future," "repair," "maintenance,"

 "existing," and "inventory of homes" are not defined. Corvias Management objects to the extent

 that the Request seeks documents protected by the common interest rule, joint defense privilege,

 attorney client privilege, and/or the work product doctrine.

        Specifically, this Request seeks documents including "due diligence" by Corvias

 Management surrounding the Ground Lease to which it is not a party, regardless of the

 applicable time period. Corvias Management objects to the extent that the Request seeks

 documents protected by the common interest rule, joint defense privilege, attorney client




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 privilege, and/or the work product doctrine. Corvias Management further objects to the extent

 that this Request seeks documents pertaining to entities other than Corvias Management and

 appears to be an impermissible fishing expedition as to records of multiple, distinct limited

 liability companies. Corvias Management further objects to the extent that this Request: (a)

 seeks a compilation, summary, or abstract to the extent protected by the work product doctrine,

 attorney client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact

 a written interrogatory that is improperly phrased as a request for production and intended to

 circumvent the limitation on number of written interrogatories pursuant to Federal Rule of Civil

 Procedure 33(a)(1). As such, this Request is also not proportional to the needs of this case.

        Subject to and without waiving these objections, Corvias Management responds as

 follows: Corvias Management will produce non-privileged, relevant documents for Corvias

 Management located in a reasonable and temporally-limited search that are in its possession,

 custody, and/or control, once the parties execute a Stipulated Order Regarding Confidentiality

 of Discovery Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 10:

       Documents reflecting any representations, promises, assurances or predictions that

Corvias/Picerne made, to the Army or to others, in connection with its bid proposal and its

presentations in advance of the 2003 ground lease, with regard to how many homes Corvias would

replace, or renovate, over the term of the ground lease.

RESPONSE TO REQUEST NO. 10:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias




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Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "representation," "promises," "assurances," "predictions," "Corvias/Picerne,"

"the Army," "others," "bid proposal," "presentations," "2003 ground lease," "with regard to,"

"homes," "Corvias," "replace," "renovate," "over the term," and "ground lease" are not defined.

Corvias Management objects to the extent that the Request seeks documents protected by the

common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 11:

       Documents reflecting any representations, promises, assurances or predictions that

Corvias/Picerne made, to the Army or to others, in connection with its bid proposal and its

presentations in advance of the 2003 ground lease, with regard to Corvias' assessment of the age

and quality of the existing inventory of housing at Fort Bragg, and with regard to the expected

repair or maintenance needs of existing housing over time and costs in that regard.

RESPONSE TO REQUEST NO. 11:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years.

       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "reflecting," "representation," "promises," "assurances," "predictions,"

"Corvias/Picerne," "the Army," "others," "bid proposal," "presentations," "2003 ground lease,"




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"with regard to," "Corvias' assessment," "age and quality," "existing inventory of housing," "Fort

Bragg," "expected repair or maintenance needs," "existing housing," "over time," "costs," and "that

regard" are not defined. Corvias Management objects to the extent that the Request seeks

documents protected by the common interest rule, joint defense privilege, attorney client privilege,

and/or the work product doctrine.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 12:

       All historical design, construction, renovation, repair or maintenance history documents,

tenant requests, work orders and complaints, tenant leases, environmental assessments, mold or

air quality testing, and documents reflecting payment of BAH or other rental payments, at any

time, in Defendant's possession, custody or control, for

       a.        each of the homes identified in the complaint as being leased by the named

Plaintiffs at Fort Bragg; and

       b.        As to each named Plaintiff's residential unit that was in a duplex, a 4-unit building,

or another multi-family building, the same records as to each of said other residential units in the

same building.

RESPONSE TO REQUEST NO. 12:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time as it seeks documents without any limitation as to a starting or ending point in




                                      19
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time. Corvias Management further objects to this Request to the extent it seeks information related

to absent members of the putative class.

       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "historical design," "construction," "renovation," "repair or maintenance history

documents," "tenant requests," "work orders," "complaints," "tenant leases," "environmental

assessments," "mold or air quality testing," "reflecting payment," "BAH," "other rental payments,"

"each of the homes identified in the complaint," "being leased by," "named Plaintiffs," "at Fort

Bragg," "each named Plaintiff's," "residential unit," "duplex," "4-unit building," "another multi-

family building," "same records," "each of," "said other residential units," and "same building" are

not defined. Corvias Management objects to the extent that the Request seeks documents protected

by the common interest rule, joint defense privilege, attorney client privilege, and/or the work

product doctrine.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 13:

       All documents reflecting town hall meetings, community meetings, or meetings at which

groups of residents attended, for Fort Bragg, where housing quality or Picerne/Corvias service was

a subject of discussion, in Defendant's possession, custody or control, from 2003 to present.

RESPONSE TO REQUEST NO. 13:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years.




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       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "reflecting," "town hall meetings," "community meetings," "meetings at which

groups of residents attended," "for Fort Bragg," "housing quality," "Picerne/Corvias service," and

"subject of discussion" are not defined. Corvias Management objects to the extent that the Request

seeks documents protected by the common interest rule, joint defense privilege, attorney client

privilege, and/or the work product doctrine.

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents for Corvias Management

located in a reasonable and temporally-limited search that are in its possession, custody, and/or

control, once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 14:

       All "SatisFacts" Annual Resident Surveys for Picerne/Corvias housing at Fort Bragg from

2003 through present.

RESPONSE TO REQUEST NO. 14:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "'SatisFacts,'" "Annual Resident Surveys," "Picerne/Corvias housing," and "at Fort Bragg"

are not defined.

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents for Corvias Management




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located in a reasonable and temporally-limited search that are in its possession, custody, and/or

control, once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order.



REQUEST FOR PRODUCTION NO. 15:

        With regard to Corvias' historical statements that Corvias has received high marks in

resident satisfaction in annual reviews by two independent agencies, 4 please provide copies of all

such reviews for Fort Bragg which form the basis for Corvias' statements.

RESPONSE TO REQUEST NO. 15:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents without limitation as to a starting or ending point in

time. Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "With regard to," "Corvias' historical statements," "Corvias," "high marks,"

"Resident satisfaction," "annual reviews," "two independent agencies," "such reviews," "for Fort

Bragg," "form the basis," and "Corvias' statements" are not defined. Corvias Management objects

to the extent that the Request seeks documents protected by the common interest rule, joint defense

privilege, attorney client privilege, and/or the work product doctrine. Corvias Management objects

to the extent that the Request also assumes facts not in evidence, lacks foundation, and is based on

hearsay and/or speculation.




4
 See Linda Borg, R.I. developer faces substandard housing complaints, The Providence Journal, Dec. 28, 2018,
https://www.providencejournal.com/story/news/2018/12/28/ri-developer-faces-substandard-housing-complaints-at-
us-military-bases/6431547007/ (last accessed Jan. 2, 2022) (Borg 2018).


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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 16:

       Documents reflecting each floor plan in use for residential units at Fort Bragg and

reflecting how many units existed in each floor plan, from 2003 to present.

RESPONSE TO REQUEST NO. 16:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "floor plan," "in use," "residential units," "at Fort Bragg," "units," "existed,"

and "each floor plan" are not defined. Corvias Management further objects to this Request to the

extent it seeks information related to absent members of the putative class.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 17:

       All press releases, written statements issued to the press, interviews, or videos, by John

Picerne, discussing in whole or part housing at Fort Bragg, from 2003 to present.

RESPONSE TO REQUEST NO. 17:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably



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limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to the extent that this Request seeks documents pertaining to entities

and individuals other than Corvias Management and seeks documents that are not within its

custody or control. Corvias Management further objects to this Request as it is overly broad and

vague because the terms and phrases "press releases," "written statements," "interviews," "videos,"

"discussing," and "housing" are not defined. For the foregoing reasons, the Request is overly

broad, unduly burdensome, and seeks information and documents not relevant to or necessary for

resolving the disputes in this case, thus it is not proportional to the needs of this case. Corvias

Management stands on its objections.

REQUEST FOR PRODUCTION NO. 18:

        Documents reflecting Corvias financial statements, profits and loss statements, income

statements, annual reports, and budget documents, from 2003 to present.

RESPONSE TO REQUEST NO. 18:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope or time as it seeks documents over a period of nearly twenty years. Corvias Management

further objects to the extent that this Request seeks documents pertaining to entities and individuals

other than Corvias Management and seeks documents that are not within its custody or control.

Corvias Management further objects to this Request as overly broad and vague because the terms

"Corvias," "financial statements," "profits and loss statements," "income statements," "annual

reports," and "budget documents" are undefined.

        Finally, Corvias Management objects to the Request as it seeks historical financial

information that is not relevant to any party's current claims or defenses. See e.g., Hester v. Cottrell




                                      24
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Contracting Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4 (E.D.N.C. Apr. 27, 2001) (finding

that even where punitive damages were sought financial information is only discoverable as to the

current financial condition). For the foregoing reasons, the Request is overly broad, unduly

burdensome, and seeks information and documents not relevant to or necessary for resolving the

disputes in this case, thus it is not proportional to the needs of this case. Corvias Management

stands on its objections.

REQUEST FOR PRODUCTION NO. 19:

         Documents reflecting whether, in late 2013, Corvias obtained a $127 million loan from an

affiliate of investment bank Guggenheim Partners, in which, as collateral, Corvias pledged future

fees from military housing, if that housing included housing at Fort Bragg. 5

RESPONSE TO REQUEST NO. 19:

         Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope or time as it seeks documents over a period of nearly twenty years. Corvias Management

further objects to the extent that this Request seeks documents pertaining to entities and individuals

other than Corvias Management and seeks documents that are not within its custody or control.

Corvias Management further objects to this Request as overly broad and vague because the terms

"Corvias," "loan," "affiliate," "investment bank," "collateral," "pledged," and "future fees from

military housing" are undefined.

         Finally, Corvias Management objects to the Request as it seeks historical financial

information that is not relevant to any party's current claims or defenses. See e.g., Hester v. Cottrell



5
  By Joshua Schneyer and Andrea Januta, As U.S. soldiers battle landlord, confidential records shine light on his
lucrative business, Reuters, Dec. 27, 2018, https://www.reuters.com/investigates/special-report/usa-military-
developer/ (last accessed Jan. 2, 2022).


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Contracting Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4 (E.D.N.C. Apr. 27, 2001) (finding

that even where punitive damages were sought financial information is only discoverable as to the

current financial condition). For the foregoing reasons, the Request seeks information and

documents not relevant to or necessary for resolving the disputes in this case, thus it is not

proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 20:

       Documents sufficient to reflect the present and past historical content of the Corvias

website and the prior Picerne website, back to 2003.

RESPONSE TO REQUEST NO. 20:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "sufficient to," "reflect," "present," "past," "historical content," "Corvias website," and

"prior Picerne website" are not defined.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 21:

       All Picerne/Corvias marketing materials, brochures, booklets and other materials used to

market military housing at Fort Bragg, since 2003.




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RESPONSE TO REQUEST NO. 21:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "Picerne/Corvias," "marketing materials," "brochures," "booklets," "other materials,"

"used to," "market," "military housing," and "at Fort Bragg" are not defined.

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents for Corvias Management

located in a reasonable and temporally-limited search that are in its possession, custody, and/or

control, once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 22:

       The Fort Bragg Integrated Pest Management Plan and any prior versions back to 2003.

RESPONSE TO REQUEST NO. 22:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because "Fort Bragg

Integrated Pest Management Plan" is not defined.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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REQUEST FOR PRODUCTION NO. 23:

       As to all emails for which John Picerne, Tim Toohey, Cynthia Dale, Sharon Shores, Mike

Sarisky, Kelly Douglas, Tim Toohey, or Heather Fuller was the author, or, was a recipient, dating

from 2001 to present, any such emails in which the subject or content of the email addressed or

related to housing at Fort Bragg, and the document contains any of the following search terms:

       a.      "mold"

       b.      "mildew"

       c.      "water intrusion"

       d.      "roaches"

       e.      "bugs"

       f.      "vermin"

       g.      "illness"

       h.      "complaint"

       i.      "pesticide"

       j.      "chlordane"

       k.      "leak"

       l.      "duct cleaning"

RESPONSE TO REQUEST NO. 23:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it seeks discovery

from individuals that do not have unique or special knowledge of the facts at issue and Plaintiffs

have not exhausted other less burdensome avenues for obtaining the information sought. Corvias

Management further objects as this Request is nearly limitless in scope and seeks essentially all




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emails for eight individuals for a period of over twenty years. As Requested, these search terms

would likely yield hundreds of thousands of results, many of which would have no relevance to

the claims and defenses at issue in this Action. Corvias Management further objects to this Request

to the extent it seeks information related to absent members of the putative class.

          Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 24:

          All documents in Defendant's possession, custody or control reflecting any reports,

complaints or contentions that Corvias employees or subcontractors were instructed or encouraged

not to use the word "mold" in reports or work order records.

RESPONSE TO REQUEST NO. 24:

          Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases        "reflecting,"     "reports,"      "complaints,"      "contentions,"       "Corvias,"

"employees," "subcontractors," "instructed," "encouraged," "use," and "work order records" are

not defined.

          Corvias Management further objects to the extent that this Request seeks documents

pertaining to entities other than Corvias Management and appears to be an impermissible fishing

expedition as to practices and operations of multiple, distinct limited liability companies. Corvias

Management further objects to the extent that this Request: (a) seeks a compilation, summary, or




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abstract to the extent protected by the work product doctrine, attorney client privilege, common

interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that is

improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 25:

       All memos, emails, town hall meeting spreadsheets or other documents reflecting promises

or representations made by or on behalf of Picerne in 2013 (or by others and known to Picerne) to

the effect that while the Fort Bragg garrison was faced with significant funding challenges, those

funding restrictions would not have any impact on Picerne Military Housing's or Corvias' ability

to respond to residents' maintenance requirements. 6

RESPONSE TO REQUEST NO. 25:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time.

       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "memos," "emails," "town hall meeting spreadsheets," "other documents,"

"reflecting," "promises," "representations," "made by," "on behalf of," "Picerne," "by others and

known to," "to the effect," "Fort Bragg garrison," "faced," "significant funding challenges,"



6
  As an example of a responsive document, see
https://bragg.armymwr.com/application/files/1014/9333/5351/brgg-Town_Hall_2008-2015.pdf
(last accessed Jan. 2, 2022).


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"funding restrictions," "impact," "Picerne Military Housing's," "Corvias'," "ability," "respond,"

and "residents' maintenance requirements" are not defined. Corvias Management objects to the

extent that the Request seeks documents protected by the common interest rule, joint defense

privilege, attorney client privilege, and/or the work product doctrine. Corvias Management objects

to the extent that the Request also assumes facts not in evidence, lacks foundation, and is based on

hearsay and/or speculation. Corvias Management objects to the extent that FN 6 of the Request

misstates the document referenced.

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 26:

       Copies of any tenant or family member complaints regarding the quality of housing or of

repair and maintenance services or of the other community infrastructure for which Corvias was

responsible, received directly from tenants, saved or printed from Facebook or elsewhere on the

internet, or otherwise coming into Defendant's possession, custody or control, pertaining to

military housing at Fort Bragg, at any time.

RESPONSE TO REQUEST NO. 26:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents without limitation as to a starting or ending point in

time. Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "copies," "tenant," "family member," "complaints," "regarding," "quality,"

"housing," "repair," "maintenance," "services," "community infrastructure," "Corvias,"




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"responsible," "received directly," "tenants," "saved or printed," "from Facebook," "elsewhere on

the internet," "otherwise coming into," "pertaining to," "military housing," and "at Fort Bragg" are

not defined. Corvias Management also objects to the extent the Request calls for an improper legal

conclusion as to who is "responsible." Corvias Management further objects to this Request to the

extent it seeks information related to absent members of the putative class.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine.   Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent the

limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 27:

       Any complaints received from Picerne/Corvias employees or subcontractors regarding the

quality or integrity of customer service, repair and maintenance services provided to tenants at

Fort Bragg, since 2003.

RESPONSE TO REQUEST NO. 27:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably




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limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "complaints," "received," "Picerne/Corvias," "employees," "subcontractors," "regarding,"

"quality," "integrity," "customer service," "repair," "maintenance," "services," "provided to,"

"tenants," and "at Fort Bragg" are not defined. Corvias Management further objects to this Request

to the extent it seeks information related to absent members of the putative class.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation. Corvias Management

further objects to this interrogatory as premature as the deadline for Corvias Management to

disclose its expert witnesses is not until November 18, 2022. Corvias Management will make its

expert witness disclosures consistent with the Court's Scheduling Order [Dkt. No. 68].

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).




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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




REQUEST FOR PRODUCTION NO. 28:

       Documents reflecting any efforts made by Defendant, or to Defendant's knowledge by any

other actor, to assess, investigate or audit whether fraud existed in Bragg-related work orders or

service, repair and maintenance records, from 2003 to present.

RESPONSE TO REQUEST NO. 28:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "efforts," "made by," "knowledge," "other actor," "assess," "investigate,"

"audit," "fraud," "existed," "Bragg-related," "work orders," "service," "repair," and "maintenance

records" are not defined. Corvias Management also objects to the extent the Request calls for an

improper legal conclusion as to the issue of "fraud."

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine.   Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written




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interrogatory that is improperly phrased as a request for production and intended to circumvent the

limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 29:

       Documents reflecting complaints made by military housing tenants or their family

members to Defendant, or which were made to others but have come into your possession, custody

or control, with regard to the privatized military housing at Fort Bragg, or Defendant's services at

Fort Bragg, from 2003 to present.

RESPONSE TO REQUEST NO. 29:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "complaints," "military housing tenants," "family members," "others," "with

regard to," "privatized military housing," "at Fort Brag," and "services" are not defined. Corvias

Management also objects to the extent the Request is overly burdensome as it appears cumulative

to Request No. 26. Corvias Management objects to the extent that the Request seeks documents

protected by the common interest rule, joint defense privilege, attorney client privilege, and/or the

work product doctrine. Corvias Management further objects to this Request to the extent it seeks

information related to absent members of the putative class.




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       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents for Corvias Management

located in a reasonable and temporally-limited search that are in its possession, custody, and/or

control, once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 30:

       Documents reflecting Fort Bragg privatized military housing resident complaints regarding

work order requests, rent or billing issues, or relocation requests, with regard to the housing at Fort

Bragg, from 2003 to present.

RESPONSE TO REQUEST NO. 30:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "Fort Bragg," "privatized military resident complaints," "regarding," "work

order requests," "rent or billing issues," "relocation requests," "with regard to," and "housing at

Fort Bragg" are not defined. Corvias Management objects to the extent that the Request seeks

documents protected by the common interest rule, joint defense privilege, attorney client privilege,

and/or the work product doctrine. Corvias Management further objects to this Request to the extent

it seeks information related to absent members of the putative class.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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REQUEST FOR PRODUCTION NO. 31:

        All documents summarizing or describing the reasons behind and the nature of the

corporate reorganization or restructuring and budget cuts and cuts to repair and maintenance staff

and community center staff that according to public statements and statements to Congress made

by Mr. Picerne 7 and Sharon Shores 8 and others occurred circa 2013-2017 and affected the quality

of service at Fort Bragg.

RESPONSE TO REQUEST NO. 31:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time as it seeks documents without any limitation as to a starting or ending point in

time.

        Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "summarizing," "describing," "reasons behind," "nature of," "corporate

reorganization," "restructuring," "budget cuts," "cuts to repair and maintenance staff," "community

center staff," "according to," "public statements," "statements to Congress," "others," "circa 2013-

2017," "affected," "quality of service," and "at Fort Bragg" are undefined.

        Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management objects to the extent that the Request also assumes facts not in


7
  American Homefront Project, Sept. 18, 2019, New Financing Plan Could Speed Renovations Of 16,000 Army
Base Homes, https://www.cpr.org/2019/09/18/new-financing-plan-could-speed-renovations-of-16000-army-base-
homes/ (last accessed Jan. 2, 2022) ("he said the company made a mistake by scaling back spending on
renovations") (Homefront 2019).
8
  Rachael Riley, Fort Bragg receives low ranking in housing survey, July 26, 2019, Fayetteville Observer,
https://www.fayobserver.com/story/lifestyle/fort-bragg-life/2019/07/26/fort-bragg-residents-report-decreased-
satisfaction-in-housing-survey/4580380007/ (last accessed Jan. 2, 2022) ("Sharon Shores, director of Corvias at Fort
Bragg, said Corvias has made mistakes. One of the mistakes, she said, was during a 2017 reorganization that led to
fewer staff at Fort Bragg and some office and amenity closures") (Riley 2019).


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evidence, lacks foundation, and is based on hearsay and/or speculation. In particular, Corvias

Management objects to the Request on the ground that the terms "public statements" and

"statements to Congress made by . . . others" are vague and do not provide any information as to

the nature of the "public statements," or when, where, how, by whom, and to whom such alleged

statements were made. This Request also asks Corvias Management to improperly speculate as to

third party individuals' subjective thoughts behind their alleged statements. Corvias Management

objects to the Request as it seeks historical financial information that is not relevant to any party's

current claims or defenses. See e.g., Hester v. Cottrell Contracting Corp., 2001 A.M.C. 2017, 2001

WL 1764200, at *4 (E.D.N.C. Apr. 27, 2001) (finding that even where punitive damages were

sought financial information is only discoverable as to the current financial condition).

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 32:

       Documents reflecting tenant and housing files including, but not limited to, any repair and

maintenance requests and complaints received as to the following servicemember tenants or their

family members who have complained of housing at Fort Bragg, reflecting any complaints made




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by them, reflecting any investigation made by Corvias, and reflecting any resolution of their claims

of defective housing at Fort Bragg:

       a.      Amanda McCarthy.

       b.      Jennifer Wade.

       c.      Kacey Mariah Carter.

       d.      Julianne Smigiel.

       e.      Renate Eliese.

       f.      Kameron Scott Lovelace.

       g.      Nicole Teetee Johnson.

       h.      Ashley Marie.

       i.      Makayla Shèa Pärn.

       j.      Zach Oore.

       k.      Steffany Billington.

       l.      David Alexis Camacho.

       m.      Cassandra Bogle.

       n.      Jon Athan.

       o.      Shawn Petermann.

       p.      Amanda Stillwagner.

       q.      Jacqueline Lyons.

       r.      Korena Rachelle.

       s.      Perette Elizabeth.

       t.      Ivy O'Brien.

       u.      Sally Smith.




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v.    Lauren Quinones.

w.    Stefanie Robinson.

x.    Heather Beckstrom.

y.    Tasey Medina.

z.    Jessica Andreano.

aa.   Jennifer Wade.

bb.   Calvin and Rachael Kilpatrick.

cc.   Sara Brumbaugh.

dd.   Heidi Jorgy Jorgensen.

ee.   Javzaa Unursaikhan.

ff.   Marilyn Thigpen.

gg.   Courtney Distelrath.

hh.   Sara Hanlon.

ii.   Michaela Garcia.

jj.   Andrew Jackson Marrs.

kk.   Jay Hardnett.

ll.   Nicole Blakely.

mm.   Taylor Padgett.

nn.   Regan Burke.

oo.   Toni Braun.

pp.   Jordan Gray.

qq.   Loryn Hardy.

rr.   Devin Worth.




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       ss.     Kylie Ann.

       tt.     Tanneal Fahey.

       uu.     Martín Tinoco.

       vv.     Kandice Cole.

       ww.     Jayla Garcia.

       xx.     Lena Rae Brantner.

       yy.     Terry Smith.

       zz.     Julie Parr.

       aaa.    Rikki Wirth.

       bbb.    Tamara Terry.

       ccc.    Amber Lee.

       ddd.    Klerissa Davis.

       eee.    Paige Ellis.

       fff.    Gabrielle Lewis.

RESPONSE TO REQUEST NO. 32:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is compound as it contains

58 separate subparts with individual document requests. Corvias Management objects to this

Request because it is not reasonably limited in scope and time as it seeks documents without any

limitation as to a starting or ending point in time. Corvias Management further objects to this

Request to the extent it seeks information related to absent members of the putative class.

       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "reflecting," "tenant and housing files," "repair and maintenance requests,"




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"complaints," "received," "who have complained of housing at Fort Bragg," "any complaints,"

"made by them," "any investigation," "made by," "Corvias," "any resolution," "their claims,"

"defective housing," and "at Fort Bragg" are undefined.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine.   Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent the

limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 33:

       All resident complaints to Army chain of command, ICE (Interactive Customer

Evaluation), or other non-Corvias parties, regarding or referencing military housing conditions at

Fort Bragg, in your possession, custody or control.

RESPONSE TO REQUEST NO. 33:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is overbroad and

compound as it is not limited in scope or time. Corvias Management further objects to this Request

as overly broad and vague because the terms and phrases "resident complaints," "Army chain of




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command," "ICE (Interactive Customer Evaluation)," "other non-Corvias parties," "regarding,"

"referencing," "military housing conditions," and "at Fort Bragg" are not defined. Corvias

Management objects to the extent that the Request seeks documents protected by the common

interest rule, joint defense privilege, attorney client privilege, and/or the work product doctrine.

Corvias Management further objects to this Request to the extent it seeks information related to

absent members of the putative class.

       Corvias Management further objects that this appears to be an impermissible fishing

expedition into any complaint made to any third party, regardless of subject-matter. For the

foregoing reasons, the Request is overly broad, unduly burdensome, and seeks information and

documents not relevant to or necessary for resolving the disputes in this case, thus it is not

proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 34:

       Documents reflecting the number and identities of Corvias employees working at Fort

Bragg each year from 2003 to present and reflecting their job titles and job duties. This request is

intended to obtain the production of documents sufficient to reflect the identities of any employees

of Defendant who either worked physically at Fort Bragg or worked elsewhere but had

responsibilities related to housing at Fort Bragg. It is also intended to obtain the production of

documents, if they are in Defendant's possession, custody or control, sufficient to reflect the

identities of any employees of Bragg Communities LLC or any other Corvias or Picerne-related

entity who either worked physically at Fort Bragg or worked elsewhere but had responsibilities

related to housing at Fort Bragg.




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RESPONSE TO REQUEST NO. 34:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "identities," "Corvias employees," "working at," "Fort Bragg," "job titles,"

"job duties," "intended to," "obtain," "sufficient to," "reflect," "identities," "any employees,"

"worked physically at," "elsewhere," "responsibilities," "related to," "housing," "at Fort Bragg,"

and "any other Corvias or Picerne-related entity" are not defined. Corvias Management also objects

to the extent the Request calls for an improper legal conclusion as to "responsibilities."

       Corvias Management further objects to the extent that this Request seeks documents

pertaining to entities other than Corvias Management and appears to be an impermissible fishing

expedition as to records of multiple, distinct limited liability companies. Corvias Management

objects to the extent that the Request seeks documents protected by the common interest rule, joint

defense privilege, attorney client privilege, and/or the work product doctrine.              Corvias

Management further objects to the extent that this Request: (a) seeks a compilation, summary, or

abstract to the extent protected by the work product doctrine, attorney client privilege, common

interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that is

improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.




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REQUEST FOR PRODUCTION NO. 35:

       Documents reflecting the number of and identities of subcontractors or other non-

employees who provided tenant service, repair or maintenance, for residences at Fort Bragg,

contracting with Defendant or any other Corvias entity, from 2003 to present.

RESPONSE TO REQUEST NO. 35:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "identities," "subcontractors," "other non-employees," "provided," "tenant

service," "repair," "maintenance," "residences," "at Fort Bragg," "contracting with," and "any other

Corvias entity" are not defined.

       Corvias Management further objects to the extent that this Request seeks documents

pertaining to entities other than Corvias Management and appears to be an impermissible fishing

expedition as to records of multiple, distinct limited liability companies. Corvias Management

objects to the extent that the Request seeks documents protected by the common interest rule, joint

defense privilege, attorney client privilege, and/or the work product doctrine.             Corvias

Management further objects to the extent that this Request: (a) seeks a compilation, summary, or

abstract to the extent protected by the work product doctrine, attorney client privilege, common

interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that is

improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).




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        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 36:

        As to John Picerne's public statements that Corvias had reduced staffing at or closed

neighborhood/community centers circa 2013-2017, please produce documents sufficient to

describe which centers at Fort Bragg were affected and how they were affected.

RESPONSE TO REQUEST NO. 36:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time as it seeks documents without any limitation as to a starting or ending point in

time.

        Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "John Picerne's public statements," "Corvias," "reduced," "staffing," "closed,"

"neighborhood/community centers," "circa 2013-2017," "sufficient to," "describe," "identified,"

"centers," "at Fort Bragg," and "affected" are undefined. Corvias Management objects to the extent

that the Request seeks documents protected by the common interest rule, joint defense privilege,

attorney client privilege, and/or the work product doctrine.

        Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).




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        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 37:

        Documents sufficient to show each successive version or revision of the form lease

agreement aka the resident occupancy agreement (ROA), applicable to any tenants at Fort Bragg,

since 2003.

RESPONSE TO REQUEST NO. 37:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "sufficient to show," "successive version," "revision," "form lease agreement," "resident

occupancy agreement (ROA)," "applicable to," "any tenants," and "at Fort Bragg" are not defined.

        Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. In addition, this Request seeks all "successive version[s] or revision[s]" of every lease

agreement with every tenant at Fort Bragg since 2003, which is overly broad, unduly burdensome,

and seeks information and documents not relevant to or necessary for resolving the disputes in this

case.

        Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents for Corvias Management

located in a reasonable and temporally-limited search, consisting of copies of the versions of the




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ROAs with the named Plaintiffs, that are in its possession, custody, and/or control, once the parties

execute a Stipulated Order Regarding Confidentiality of Discovery Material and/or the Court

enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 38:

       Documents sufficient to show each successive version or revision of the resident

responsibility guide (RRG), applicable to any tenants at Fort Bragg, since 2003.

RESPONSE TO REQUEST NO. 38:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "sufficient to show," "successive version," "revision," "resident responsibility guide

(RRG)," "applicable to," "any tenants," and "at Fort Bragg" are not defined. Corvias Management

objects to the extent that the Request seeks documents protected by the common interest rule, joint

defense privilege, attorney client privilege, and/or the work product doctrine.

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents for Corvias Management

located in a reasonable and temporally-limited search, that are in its possession, custody, and/or

control, once the parties execute a Stipulated Order Regarding Confidentiality of Discovery

Material and/or the Court enters a confidentiality order.




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REQUEST FOR PRODUCTION NO. 39:

           Documents supporting the statement 9 by Sharon Shores, director of Corvias at Fort Bragg,

that since February 2019, Corvias has added 52 positions to staffing and reopened community

offices at Fort Bragg.

RESPONSE TO REQUEST NO. 39:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "supporting," "statement," "assigned," "Corvias," "added," "positions," "staffing,"

"reopened," "community offices," and "at Fort Bragg" are undefined.

           Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

           Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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    Riley 2019.


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REQUEST FOR PRODUCTION NO. 40:

           Documents sufficient to identify the homes that were taken offline or deemed uninhabitable

due to inspections occurring since 2015 at Fort Bragg. 10

RESPONSE TO REQUEST NO. 40:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "sufficient to," "identify," "homes," "offline," "uninhabitable," "inspections," "occurring,"

and "at Fort Bragg" are undefined. Corvias Management objects to the extent that the Request also

assumes facts not in evidence, lacks foundation, and is based on hearsay and/or speculation.

Corvias Management further objects to this Request to the extent it seeks information related to

absent members of the putative class.

           Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation. Corvias Management

further objects to this interrogatory as premature as the deadline for Corvias Management to




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     Riley 2019.


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disclose its expert witnesses is not until November 18, 2022. Corvias Management will make its

expert witness disclosures consistent with the Court's Scheduling Order [Dkt. No. 68].

        Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

        Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 41:

        Documents sufficient to identify the approximately 2,770 homes at Fort Bragg which as of

2018, had been built before 1978, when stricter safety laws on lead paint went into effect. 11

RESPONSE TO REQUEST NO. 41:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "sufficient to," "identify," "approximately," "homes," "at Fort Bragg," "built," "stricter

safety laws," "lead paint," and "went into effect" are undefined. Corvias Management objects to

the extent that the Request also assumes facts not in evidence, lacks foundation, and is based on



11
  See news story at https://www.fayobserver.com/story/news/military/2018/09/10/fort-bragg-to-inspect-homes-
believed-to-have-lead-based-paint/10797561007/ (last accessed Jan. 2, 2022).


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hearsay and/or speculation. Corvias Management also objects to the extent the Request calls for

improper legal conclusions as to the scope and applicability of unspecified "stricter safety laws."

Corvias Management further objects to this Request to the extent it seeks information related to

absent members of the putative class.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation. Corvias Management

further objects to this interrogatory as premature as the deadline for Corvias Management to

disclose its expert witnesses is not until November 18, 2022. Corvias Management will make its

expert witness disclosures consistent with the Court's Scheduling Order [Dkt. No. 68].

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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REQUEST FOR PRODUCTION NO. 42:

       Documents sufficient to identify the 1,220 of the homes built before 1978 at Fort Bragg

which as of 2018 had been renovated and tested negative for lead-based paint and reflecting the

current status of the remaining 1,550 homes and any lead abatement or renovations.

RESPONSE TO REQUEST NO. 42:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "sufficient to," "identify," "homes," "at Fort Bragg," "built," "at Fort Bragg," "renovated,"

"tested negative," "lead-based paint," "reflecting," "current status," "remaining 1,550 homes,"

"lead abatement," and "renovations" are undefined. Corvias Management objects to the extent that

the Request also assumes facts not in evidence, lacks foundation, and is based on hearsay and/or

speculation. Corvias Management further objects to this Request to the extent it seeks information

related to absent members of the putative class.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine.   Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent the

limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).




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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 43:

       Documents reflecting any Corvias 35-year plan to renovate homes on Fort Bragg, including

plans for 153 homes in the Pope neighborhood to be scheduled for major interior and exterior

renovations, from 2018 onward.

RESPONSE TO REQUEST NO. 43:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "Corvias 35-year plan," "renovate," "homes," "on Fort Bragg," "plans," "Pope

neighborhood," "scheduled," and "major interior and exterior renovations" are undefined. Corvias

Management further objects to this Request to the extent it seeks information related to absent

members of the putative class.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, and is based on hearsay and/or speculation. Corvias Management

objects to the extent that the Request seeks documents protected by the common interest rule, joint

defense privilege, attorney client privilege, and/or the work product doctrine.            Corvias

Management further objects as the Request is overly broad and not related to any claims or

defenses in this Action.




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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 44:

       Documents reflecting all payments received by the Corvias organization with regard to the

MHPI project at Fort Bragg since 2003, including BAH revenues, incentive fees or awards, or

other payments received from the U.S. government.

RESPONSE TO REQUEST NO. 44:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias

Management objects to this Request to the extent that it calls for the production of documents

which postdate the filing of the Complaint in this action. Corvias Management further objects to

this Request as overly broad and vague because the terms and phrases "reflecting," "payments,"

"received," "Corvias organization," "with regard to," "MHPI project," "at Fort Bragg," "BAH

revenues," "incentive fees or awards," "other payments," "received," and "U.S. government" are

undefined.

       Corvias Management objects to the Request as it seeks historical financial information that

is not relevant to any party's current claims or defenses. See e.g., Hester v. Cottrell Contracting

Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4 (E.D.N.C. Apr. 27, 2001) (finding that even

where punitive damages were sought financial information is only discoverable as to the current

financial condition). Corvias Management further objects to the extent that the Request seeks




                                      55
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documents protected by the common interest rule, joint defense privilege, attorney client privilege,

and/or the work product doctrine.

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 45:

       Documents evidencing any insurance policies which may provide any coverage with regard

to this matter and the claims asserted in the Complaint, as amended.

RESPONSE TO REQUEST NO. 45:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Subject to and without waiving these objections, Corvias Management responds

as follows: pursuant to FRCP 26(a)(1)(A)(iv) Corvias Management will produce any insurance

agreement under which an insurance business may be liable to satisfy all or part of a possible

judgment in the action or to indemnify or reimburse for payments made to satisfy the judgment.

once the parties execute a Stipulated Order Regarding Confidentiality of Discovery Material

and/or the Court enters a confidentiality order.

REQUEST FOR PRODUCTION NO. 46:

       Documents reflecting any document retention policies or document retention policies

followed by Defendant since 2003.

RESPONSE TO REQUEST NO. 46:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope or time as it seeks documents over a period of nearly twenty years. Corvias




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Management objects to this Request to the extent that it calls for the production of documents

which postdate the filing of the Complaint in this action. Corvias Management further objects to

this Request as overly broad and vague because the terms and phrases "reflecting," "document

retention policies," and "followed by" are undefined. Corvias Management objects to the extent

that the Request seeks documents protected by the common interest rule, joint defense privilege,

attorney client privilege, and/or the work product doctrine.

          For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 47:

          Documents reflecting any review of service requests commenced after the publication of

the Reuters news reporting in December 2018 regarding Corvias, including the comprehensive

review of service requests and how they are handled referenced by Kelly Douglas in public

comments in December 2018. 12

RESPONSE TO REQUEST NO. 47:

          Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "review," "service requests," "publication," "Reuters news reporting,"

"regarding," "Corvias," "comprehensive review," "they," "handled," "referenced by," and "public

comments" are undefined. Corvias Management objects to the extent that the Request also assumes



12
     Borg 2018.


                                         57
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facts not in evidence, lacks foundation, and is based on hearsay and/or speculation. Corvias

Management objects to the extent that the Request seeks documents protected by the common

interest rule, joint defense privilege, attorney client privilege, and/or the work product doctrine.

Further, as drafted, this Request assumes facts not in evidence and is not seeking any specified

documents.

        Corvias Management further objects to the extent the Request is in fact a written

interrogatory improperly phrased as a request for production, intended to circumvent the limitation

on number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1). As

drafted, it is unclear what specific documents Plaintiffs seek as said Request would require review

of every single record and email from December 2018 to present. For the foregoing reasons, the

Request is overly broad, unduly burdensome, and seeks information and documents not relevant

to or necessary for resolving the disputes in this case, thus it is not proportional to the needs of this

case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 48:

        Any tenant petitions (including both hardcopy and online) criticizing, complaining about

or protesting Fort Bragg housing; and documents reflecting any efforts by Defendant, any Corvias

entity, or any third party retained for the task, to investigate any of the complaints asserted in the

petitions.

RESPONSE TO REQUEST NO. 48:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the




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production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "tenant petitions," "criticizing," "complaining," "protesting," "Fort Bragg housing,"

"reflecting," "any efforts," "Corvias entity," "third party," "retained," "the task," "investigate,"

"complaints," "asserted," and "petitions" are undefined. Corvias Management objects to the extent

that the Request also assumes facts not in evidence, lacks foundation, and is based on hearsay

and/or speculation. Corvias Management further objects to this Request to the extent it seeks

information related to absent members of the putative class.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation. Corvias Management

further objects to this interrogatory as premature as the deadline for Corvias Management to

disclose its expert witnesses is not until November 18, 2022. Corvias Management will make its

expert witness disclosures consistent with the Court's Scheduling Order [Dkt. No. 68].

       Corvias Management further objects that this appears to be an impermissible fishing

expedition into any complaint made to any third party, regardless of subject-matter. For the

foregoing reasons, the Request is overly broad, unduly burdensome, and seeks information and

documents not relevant to or necessary for resolving the disputes in this case, thus it is not

proportional to the needs of this case. Corvias Management stands on its objections.




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REQUEST FOR PRODUCTION NO. 49:

       Any interviews of tenants conducted by Corvias or by others that are in Defendant's

possession, custody or control, and that reflect tenants criticizing, complaining about or protesting

Fort Bragg housing.

RESPONSE TO REQUEST NO. 49:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "interviews," "tenants," "conducted by," "Corvias," "others," "reflect," "criticizing,"

"complaining about," "protesting," and "Fort Bragg housing" are undefined. Corvias Management

objects to the extent that the Request also assumes facts not in evidence, lacks foundation, and is

based on hearsay and/or speculation. Corvias Management further objects to this Request to the

extent it seeks information related to absent members of the putative class.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation.




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       Corvias Management further objects that this appears to be an impermissible fishing

expedition into any complaint or "criticism," regardless of subject-matter. For the foregoing

reasons, the Request is overly broad, unduly burdensome, and seeks information and documents

not relevant to or necessary for resolving the disputes in this case, thus it is not proportional to the

needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 50:

       All documents provided by Corvias to the Government Accounting Office (GAO) with

regard to its review of private military housing projects ordered by Congress from 2017 onward.

RESPONSE TO REQUEST NO. 50:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "provided by," "Corvias," "Government Accounting Office (GAO)," "with regard to,"

"review," "private military housing projects," "ordered by," and "Congress" are undefined.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent the

limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).




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           For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 51:

           As Corvias is aware, the GAO and its representative Elizabeth Field have described a

process by which within the last several years, they collected work order data from all of the 14

private companies that manage the military privatized housing projects. Ms. Field stated that GAO

looked at over eight million work order records, and what they found was that the data were so

unreliable that they could not use it to determine the prevalence of any one hazard. 13 Please

produce all work orders and other documents provided by Corvias to GAO in that regard.

RESPONSE TO REQUEST NO. 51:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "As Corvias is aware," "GAO," "described," "process," "within," "last several years,"

"they," "collected," "work order data," "14 private companies," "manage," "militarized privatized

housing projects," "stated," "looked at," "work order records," "data," "unreliable," "use,"

"determine," "prevalence," "hazard," "work orders," "other documents," "provided by," and "in

that regard" are undefined.



13
     See interview transcript at https://www.gao.gov/assets/710/705509.txt.


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       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. In

particular, Corvias Management objects to Plaintiffs' premise, "As Corvias is aware . . . ," on the

basis that it lacks foundation, calls for speculation, and assumes facts not in evidence. This Request

asks Corvias Management to improperly speculate as to a third party individual's subjective

thoughts behind her alleged statements.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request: (a) seeks a

compilation, summary, or abstract to the extent protected by the work product doctrine, attorney

client privilege, common interest rule, and/or joint defense privilege; and (b) is in fact a written

interrogatory that is improperly phrased as a request for production and intended to circumvent the

limitation on number of written interrogatories pursuant to Federal Rule of Civil Procedure

33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 52:

       The GAO's Ms. Field also described that within the last several years, another thing that

they looked at to try to get a sense of prevalence and how widespread the tenant housing problems

were was customer satisfaction surveys; there, again, the GAO found that the data that the

Department collected and produced related to customer satisfaction was so unreliable that it too




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was not a way to know just how prevalent these problems are.        Please produce all documents

provided by Corvias to GAO in that regard.

RESPONSE TO REQUEST NO. 52:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "The GAO's Ms. Field," "described," "within," "last several years," "another thing,"

"looked at," "try and get a sense of," "prevalence," "widespread," "tenant housing problems,"

"customer satisfaction surveys," "there," "again," "the GAO," "found," "data," "the Department,"

"collected," "produced," "related to," "customer satisfaction," "unreliable," "it too," "not a way,"

"to know," "prevalent," "these problems," "provided by," and "in that regard" are undefined.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. This

Request asks Corvias Management to improperly speculate as to a third party individual's

subjective thoughts behind her alleged statements. Corvias Management further objects to the

extent that this Request: (a) seeks a compilation, summary, or abstract to the extent protected by

the work product doctrine, attorney client privilege, common interest rule, and/or joint defense

privilege; and (b) is in fact a written interrogatory that is improperly phrased as a request for

production and intended to circumvent the limitation on number of written interrogatories pursuant

to Federal Rule of Civil Procedure 33(a)(1).




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       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 53:

       If Defendants dispute any of the GAO's findings regarding the reliability of work orders or

customer surveys as it relates to Corvias, as stated by Ms. Field and by GAO reports, please

produce all documents Defendant contends to support its position.

RESPONSE TO REQUEST NO. 53:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "dispute," "GAO's findings," "regarding," "reliability," "work orders," "customer surveys,"

"as it relates to," "Corvias," "as stated by Ms. Field and by GAO reports," "contends to support,"

and "its position" are undefined.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. This

Request asks Corvias Management to improperly speculate as to a third party individual's

subjective thoughts behind her alleged statements. Corvias Management further objects to the

extent that this Request: (a) seeks a compilation, summary, or abstract to the extent protected by

the work product doctrine, attorney client privilege, common interest rule, and/or joint defense




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privilege; and (b) is in fact a written interrogatory that is improperly phrased as a request for

production and intended to circumvent the limitation on number of written interrogatories pursuant

to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 54:

       Ms. Field of the GAO has also described that GAO had an online questionnaire that

servicemembers and their families could use to voluntarily provide GAO with information about

their experiences; and GAO found problems related to privatized housing at every location that

they visited. If Defendant is in possession of any of those online questionnaire documents, please

produce them.

RESPONSE TO REQUEST NO. 54:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "Ms. Field of the GAO," "described," "GAO," "online questionnaire," "servicemembers,"

"their families," "use," "voluntarily," "provide," "information," "their experiences," "found,"

"problems," "related to," "privatized military housing," "every location that they visited," and

"online questionnaire documents" are undefined.




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           Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. This

Request asks Corvias Management to improperly speculate as to a third party individual's

subjective thoughts behind her alleged statements. Corvias Management further objects to the

extent that this Request: (a) seeks a compilation, summary, or abstract to the extent protected by

the work product doctrine, attorney client privilege, common interest rule, and/or joint defense

privilege; and (b) is in fact a written interrogatory that is improperly phrased as a request for

production and intended to circumvent the limitation on number of written interrogatories pursuant

to Federal Rule of Civil Procedure 33(a)(1).

           For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 55:

           Documents reflecting the comprehensive internal review which according to John Picerne

and Corvias press releases 14 was begun in 2018 and was continuing as of February 2019 when

Picerne spoke on the topic.

RESPONSE TO REQUEST NO. 55:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and




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     https://www.corvias.com/news/corvias-launches-corvias-commitmenttm-improve-resident-experience.


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phrases "reflecting," "comprehensive," "internal review," "Corvias press releases," "was begun,"

"was continuing," and "when Picerne spoke on the topic" are undefined.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. This

Request asks Corvias Management to improperly speculate as to a third party individual's

subjective thoughts behind his alleged statements. Corvias Management further objects to the

extent that this Request: (a) seeks a compilation, summary, or abstract to the extent protected by

the work product doctrine, attorney client privilege, common interest rule, and/or joint defense

privilege; and (b) is in fact a written interrogatory that is improperly phrased as a request for

production and intended to circumvent the limitation on number of written interrogatories pursuant

to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 56:

       Documents identifying the leading global consulting firm said by Mr. Picerne in 2019 to

have been hired to review Corvias' practices and procedures and make any necessary

recommendations for improvement; and documents reflecting the recommendations made.

RESPONSE TO REQUEST NO. 56:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and




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phrases "leading," "global consulting firm," "said by," "have been hired to," "review," "Corvias'

practices       and    procedures,"      "make,"   "necessary,"   "recommendations,"   "improvement,"

"reflecting," and "made" are undefined.

           Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. This

Request asks Corvias Management to improperly speculate as to a third party individual's

subjective thoughts behind his alleged statements. Corvias Management further objects to the

extent that this Request: (a) seeks a compilation, summary, or abstract to the extent protected by

the work product doctrine, attorney client privilege, common interest rule, and/or joint defense

privilege; and (b) is in fact a written interrogatory that is improperly phrased as a request for

production and intended to circumvent the limitation on number of written interrogatories pursuant

to Federal Rule of Civil Procedure 33(a)(1).

           Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 57:

           Documents reflecting any efforts by Corvias to review, analyze, respond to, or refute the

MFAN 15 survey reports dated February and May 2019.

RESPONSE TO REQUEST NO. 57:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias



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     https://militaryfamilyadvisorynetwork.org/.


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Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "efforts," "Corvias," "review," "analyze," "respond to," "refute," and "MFAN

survey reports" are undefined. Corvias Management further objects to this Request to the extent it

seeks information related to absent members of the putative class.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. FN 15

includes a link to the Military Family Advisory Network homepage but does not provide access to

the "survey reports" referenced in the Request. Accordingly, the Request as phrased is based on

incomplete information.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 58:

       Copies of Army Inspector General team inspections at Fort Bragg since 2018 in

Defendant's possession, custody or control, and of any documents provided by Defendant or any

other Corvias entity to the Inspector General as part of the Inspector General's review and

investigation of Fort Bragg housing issues, during that time.




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RESPONSE TO REQUEST NO. 58:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is compound.

Corvias Management objects to this Request to the extent that it calls for the production of

documents which postdate the filing of the Complaint in this action. Corvias Management further

objects to this Request as overly broad and vague because the terms and phrases "Copies," "Army

Inspector General team inspections," "at Fort Bragg," "provided by," "any other Corvias entity,"

"the Inspector General," "part of," "Inspector General's," "review," "investigation," "housing

issues," and "that time" are undefined. Corvias Management objects to the extent that the Request

also assumes facts not in evidence, lacks foundation, is based on hearsay and/or speculation, and

misstates the facts.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 59:

       Recorded call center complaints and written documentation of call center complaints since

2003 for Fort Bragg military housing tenants and residents.

RESPONSE TO REQUEST NO. 59:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents over a period of nearly twenty years. Corvias

Management objects to this Request to the extent that it calls for the production of documents

which postdate the filing of the Complaint in this action. Corvias Management further objects to




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this Request as overly broad and vague because the terms and phrases "Recorded," "call center

complaints," "written documentation," and "Fort Bragg military housing tenants and residents" are

undefined. Corvias Management further objects to this Request to the extent it seeks information

related to absent members of the putative class.

        Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 60:

        Weekly Work Order Situation Reports (SITREPs) and related summaries of Corvias

overall performance, work order details and specific resident cases, submitted by Corvias to its

military partner regarding Fort Bragg. 16

RESPONSE TO REQUEST NO. 60:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms "related," "summaries," "overall performance," "work order details," "specific

resident cases," and "submitted" are undefined. Corvias Management further objects to this

Request to the extent it seeks information related to absent members of the putative class.

        Corvias Management further objects to the extent that the Request seeks documents

protected by the common interest rule, joint defense privilege, attorney client privilege, and/or the

work product doctrine. Corvias Management further objects to the extent that this Request seeks

information that was prepared in contemplation of or in response to the instant litigation by



16
  See generally Statement by John G. Picerne, Founder & Chief Executive Officer, Corvias Group, Before the Joint
Subcommittee on Personnel & Readiness and Management Support, United States Senate Committee on Armed
Services, February 13, 2019.


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Defendants or counsel thereof or any expert witness or consultant on behalf thereof, or which

otherwise constitutes or represents the mental impressions, conclusions, opinions, or legal theories

of an attorney or other representative of Defendants concerning the litigation.

        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 61:

        With regard to Fort Bragg, documents reflecting transcripts, videos, recordings, memos or

other documentation of any town halls, Community Information Exchanges, Executive Councils,

or focus groups as described by Mr. Picerne in his prior statements made on or about February 13,

2019.

RESPONSE TO REQUEST NO. 61:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is compound.

Corvias Management objects to this Request to the extent that it calls for the production of

documents which postdate the filing of the Complaint in this action. Corvias Management further

objects to this Request as overly broad and vague because the terms and phrases "With regard to,"

"Fort Bragg," "reflecting," "transcripts," "videos," "recordings," "memos," "other documentation,"

"town halls," "Community Information Exchanges," "Executive Councils," "focus groups,"

"described by Mr. Picerne," "prior statements," "made," and "on or about" are undefined.

        Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. In

particular, Plaintiffs fail to adequately describe the vaguely alleged "prior statements" they are




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referring to in this Request. This Request asks Corvias Management to improperly speculate as to

a third party individual's subjective thoughts behind his alleged statements. Corvias Management

further objects to the extent that this Request: (a) seeks a compilation, summary, or abstract to the

extent protected by the work product doctrine, attorney client privilege, common interest rule,

and/or joint defense privilege; and (b) is in fact a written interrogatory that is improperly phrased

as a request for production and intended to circumvent the limitation on number of written

interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 62:

       Documents sufficient to identify the litigation matter across all the partnerships, that

according to Mr. Picerne in his February 2019 statements, froze the reserve fund (the money used

for construction and major improvements) for several years.

RESPONSE TO REQUEST NO. 62:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms "sufficient to identify," "litigation matter," "partnership," "froze," "reserve

fund," and "several" are undefined.

       Corvias Management further objects to the extent that the Request seeks documents

protected by the common interest rule, joint defense privilege, attorney client privilege, and/or the

work product doctrine. Corvias Management further objects to the extent that this Request seeks

information that was prepared in contemplation of or in response to the instant litigation by




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Defendants or counsel thereof or any expert witness or consultant on behalf thereof, or which

otherwise constitutes or represents the mental impressions, conclusions, opinions, or legal theories

of an attorney or other representative of Defendants concerning the litigation.

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 63:

       In February 2019, Mr. Picerne described that approximately 30 cents of the BAH dollar is

for the direct costs supporting the communities (including payroll, supplies, marketing to attract

tenants, repairs and home maintenance); utilities, taxes and insurance account for about 17 cents;

debt service accounts for about 34 cents; and about 15 cents is deposited in reserve. With regard

to this breakdown offered by Mr. Picerne, please produce all documents reflecting the allocation

of BAH revenues paid by or for servicemember tenants at Fort Bragg, since 2010.

RESPONSE TO REQUEST NO. 63:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in time as it seeks documents over a period of twelve years. Corvias Management objects

to this Request to the extent that it calls for the production of documents which postdate the filing

of the Complaint in this action. Corvias Management further objects to this Request as overly

broad and vague because the terms and phrases "described," "approximately," "BAH dollar,"

"direct costs," "supporting," "the communities," "payroll," "supplies," "marketing to attract

tenants," "repairs," "home maintenance," "utilities," "taxes," "insurance," "account for," "debt




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service accounts," "deposited," "reserve," "With regard to," "breakdown," "offered," "allocation,"

"BAH revenues," "paid by," and "servicemember tenants" are undefined.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. In

particular, Plaintiffs fail to adequately describe the vaguely alleged description and breakdown by

Mr. Picerne that they are referring to in this Request. This Request asks Corvias Management to

improperly speculate as to a third party individual's subjective thoughts behind his alleged

statements. Corvias Management objects to the Request as it seeks historical financial information

that is not relevant to any party's current claims or defenses. See e.g., Hester v. Cottrell Contracting

Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4 (E.D.N.C. Apr. 27, 2001) (finding that even

where punitive damages were sought financial information is only discoverable as to the current

financial condition).

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 64:

       Documents sufficient to identify all compensation received by Corvias in connection with

its military housing at Fort Bragg starting 2003 through present. This response should include all




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forms of fees including, but not limited to "base fees" (those paid monthly to Corvias) and

"performance incentive fees" that were paid to Corvias during various phases of development and

management of housing at Fort Bragg, from design and construction to ongoing community

management and maintenance.

RESPONSE TO REQUEST NO. 64:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in time as it seeks documents over a period of nearly twenty years. Corvias Management

objects to this Request to the extent that it calls for the production of documents which postdate

the filing of the Complaint in this action. Corvias Management further objects to this Request as

overly broad and vague because the terms and phrases "sufficient to," "identify," "all

compensation," "received by," "Corvias," "in connection with," "its military housing," "at Fort

Bragg," "all forms of fees," "base fees," "performance incentive fees," "paid to," "various phases,"

"development," "management," "housing," "design," "construction," "ongoing," "community

management," and "maintenance" are undefined.

       Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts. In

particular, Plaintiffs fail to adequately describe the vaguely alleged description and breakdown by

Mr. Picerne that they are referring to in this Request. This Request asks Corvias Management to

improperly speculate as to a third party individual's subjective thoughts behind his alleged

statements. Corvias Management objects to the Request as it seeks historical financial information

that is not relevant to any party's current claims or defenses. See e.g., Hester v. Cottrell Contracting

Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4 (E.D.N.C. Apr. 27, 2001) (finding that even




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where punitive damages were sought financial information is only discoverable as to the current

financial condition).

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 65:

       Any and all documents sufficient to identify all "performance objectives", or similar

requirements, that must be satisfied by Corvias in order to obtain approval from the Department

of the Army for payment of performance incentive fees starting in 2003 through present.

RESPONSE TO REQUEST NO. 65:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents over a period of nearly twenty years. Corvias

Management objects to this Request to the extent that it calls for the production of documents

which postdate the filing of the Complaint in this action. Corvias Management further objects to

this Request as overly broad and vague because the terms and phrases "sufficient to," "identify,"

"performance objectives," "similar requirements," "must be," "satisfied," "Corvias," "obtain,"

"approval," "Department of the Army," "for payment," and "performance incentive fees" are




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undefined. Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, is based on hearsay and/or speculation, and misstates the facts.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 66:

       Any and all documents sufficient to identify the details of how Corvias satisfied the

"performance objectives" including, but not limited to, the following:

       i.      All maintenance and repair reports that were generated quarterly, or otherwise, by

the property management software known as "Yardi" and later submitted to the government to

evidence satisfaction of the performance objectives;




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       ii.     All resident satisfaction documents, including "comment cards," that Corvias

submitted to the government to evidence its own satisfaction of the performance objectives;

       iii.    All evaluations from local Army commanders, i.e., "Garrison Commander" or

others, that Corvias submitted to the government to evidence its own satisfaction of the

performance objectives; and

       iv.     All documents reflecting the timely completion of maintenance and repair tasks

that Corvias submitted to the government to evidence its own satisfaction of the performance

objectives.

RESPONSE TO REQUEST NO. 66:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is compound as it contains

four separate subparts with individual document requests. Corvias Management objects to this

Request because it is not reasonably limited in scope and time as it seeks documents without any

limitation as to a starting or ending point in time.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).




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         Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 67:

         Documents sufficient to identify each and every "work order administrator" or employee

whose responsibility it was to enter information about maintenance requests into Corvias' "Yardi"

software. This request relates to any employee, current or past, who worked at Corvias' on-site

management office at Fort Bragg, and those who worked remotely, starting 2003 through present.

RESPONSE TO REQUEST NO. 67:

         Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time as it seeks documents for a period of nearly twenty years. Corvias Management

further states that "work order administrator" is not a current job title of anyone assigned to Fort

Bragg.

         Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "each and every," "work order administrator," "employee," "responsibility,"

"enter," "information," "about," "maintenance requests," "Yardi," "on-site management office,"

"worked remotely," and "starting" are undefined.

         Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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REQUEST FOR PRODUCTION NO. 68:

       Any and all written statements submitted by Corvias to the government claiming that

Corvias satisfied the performance objectives, including the objectives related to maintenance and

customer satisfaction.    This shall include all documentation submitted along with Corvias'

statements including, but not limited to, comment card metrics and written letters, starting in 2003

through present.

RESPONSE TO REQUEST NO. 68:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents over a period of nearly twenty years. Corvias

Management objects to this Request to the extent that it calls for the production of documents

which postdate the filing of the Complaint in this action. Corvias Management further objects to

this Request as overly broad and vague because the terms and phrases "written statements,"

"submitted by," "Corvias," "government," "claiming that," "satisfied," "performance objectives,"

"objectives related to maintenance and customer satisfaction," "submitted along with," "Corvias'

statements," "comment card metrics," and "written letters" are undefined. Corvias Management

objects to the extent that the Request also assumes facts not in evidence, lacks foundation, is based

on hearsay and/or speculation, and misstates the facts.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).




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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 69:

       Documents sufficient to identify each and every individual who supervised Corvias'

housing community managers at Fort Bragg, and who were responsible for overseeing the day-to-

day management of several of Corvias' military housing communities.

RESPONSE TO REQUEST NO. 69:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is nearly unlimited

in scope and time as it seeks documents without a starting or ending point in time. Corvias

Management further objects to this Request as overly broad and vague because the terms

"sufficient to," "identify," "who supervised," "Corvias'," "housing community managers," "at Fort

Bragg," "responsible," "overseeing," "day-to-day," "management," "several," and "Corvias'

military housing communities" are undefined.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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REQUEST FOR PRODUCTION NO. 70:

       Documents sufficient to identify the individual(s) responsible for reviewing and approving

maintenance reports prepared by community managers and ensuring the reports were submitted to

the government with the performance incentive fee request letters.

RESPONSE TO REQUEST NO. 70:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is nearly unlimited

in scope and time as it seeks documents without a starting or ending point in time. Corvias

Management further objects to this Request as overly broad and vague because the terms

"sufficient to," "identify," "responsible for," "reviewing," "approving," "maintenance reports,"

"prepared by," "community managers," "ensuring," "reports," "submitted to," "the government,"

and "performance incentive fee request letters" are undefined.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

Specifically, this Request asks Defendants to identify individuals, which is not within the proper

scope of this set of Requests for Production of Documents.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.




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REQUEST FOR PRODUCTION NO. 71:

        All reports and records of Corvias' facilities management operations and corresponding

claims for incentive fees, property management fees, and any other fees, as submitted to the United

States Government from 2003 through present. 17

RESPONSE TO REQUEST NO. 71:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents over a period of nearly twenty years. Corvias

Management further objects to this Request as overly broad and vague because the terms "reports,"

"records," "Corvias'," "facilities management operations," "corresponding claims," "incentive

fees," "property management fees," "any other fees," "as submitted," and "United States

Government" are undefined.

        Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks documents

pertaining to entities other than Corvias Management and appears to be an impermissible fishing

expedition as to records of multiple, distinct limited liability companies. In particular, in FN 17,

Plaintiffs contend, without any basis, that "Corvias was an integrated enterprise," and that

"discovery of financial and economic information going beyond simply the named Defendant



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   With regard to the private nuisance claim, the economic benefits accrued by the Corvias organization from the
MHPI enterprise at Fort Bragg will be relevant in assessing the reasonability of Defendant's conduct and whether it
was feasible for Defendant to take better measures to ensure safe high-quality housing at Fort Bragg during the
pertinent times. Because the housing operation runs under a 50-year ground lease commencing in 2003, the
financial information from the commencement date will be relevant. If Defendants do not intend to raise any
defenses or contentions to the effect that measures were too costly to implement, please advise. Because Corvias
was an integrated enterprise, discovery of financial and economic information going beyond simply the named
Defendant Corvias subsidiary entities will be required.


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Corvias subsidiary entities will be required." Corvias Management objects to the Request as it

seeks historical financial information that is not relevant to any party's current claims or defenses.

See e.g., Hester v. Cottrell Contracting Corp., 2001 A.M.C. 2017, 2001 WL 1764200, at *4

(E.D.N.C. Apr. 27, 2001) (finding that even where punitive damages were sought financial

information is only discoverable as to the current financial condition).

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

Specifically, FN 17 improperly asks Defendants to "advise" as to whether the intend to raise any

"defenses" or "contentions," which is not within the proper scope of this set of Requests for

Production of Documents.

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 72:

       Copies of any and all communications, electronic and otherwise, between Corvias and the

U.S. Department of Justice including, if any, the Criminal Division, Fraud Section.

RESPONSE TO REQUEST NO. 72:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending




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point in time. Corvias Management further objects to this Request as overly broad and vague

because the terms "Copies," "communications," "electronic and otherwise," and "Corvias," are

undefined. Corvias Management further objects as this Request does not seek documents relevant

to the claims or defenses in this Action.

       Subject to and without waiving these objections, Corvias Management states no such

documents exist.

REQUEST FOR PRODUCTION NO. 73:

       Documents provided to the Army Inspector General regarding its inspection of Fort Bragg

housing conditions and Corvias MHPI performance since 2018.

RESPONSE TO REQUEST NO. 73:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms "provided to," "inspection," "of Fort Bragg," "housing conditions," and "Corvias

MHPI performance" are undefined.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 74:

       All written statements and interviews provided by Tim Toohey regarding housing

conditions at Fort Bragg.

RESPONSE TO REQUEST NO. 74:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably



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limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management further objects to this Request as overly broad and vague

because the terms "written statements," "interviews," "provided by," "regarding," "housing

conditions," and "at Fort Bragg" are undefined.

        Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management objects to the extent that the Request seeks documents pertaining

to an individual non-party to this lawsuit without providing such individual with any notice or

opportunity to object. In addition, as phrased, this Request essentially seeks all "written statements

and interviews" by the individual, which is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case. As

phrased, this Request could potentially include any statement ever made by Mr. Toohey about

military housing in general.

        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 75:

        With regard to Tim Toohey's statements 18 in February 2019 that he toured the Kilpatrick

military family's home at Fort Bragg and agreed the work conducted was unacceptable, a complete

copy of all documents supporting his statement and reflecting the conditions of the home in

question and the circumstances of the repair and maintenance and customer service that they

received.


 https://www.fayobserver.com/story/news/military/2019/02/21/bragg-housing-concerns-raised-at-town-hall-
18

meeting/5783399007/


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RESPONSE TO REQUEST NO. 75:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time as it seeks documents without any limitation as to a starting or ending point in

time.

        Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "With regard to," "statements," "toured," "Kilpatrick," "military family's home,"

"at Fort Bragg," "agreed," "the work," "conducted," "unacceptable," "complete copy,"

"supporting," "his statement," "reflecting," "conditions," "the home," "in question,"

"circumstances," "repair," "maintenance," "customer service," "they," and "received" are

undefined. Corvias Management objects to the extent that the Request seeks documents protected

by the common interest rule, joint defense privilege, attorney client privilege, and/or the work

product doctrine. Corvias Management objects to the extent that the Request also assumes facts

not in evidence, lacks foundation, and is based on hearsay and/or speculation. This Request asks

Corvias Management to improperly speculate as to a third party individual's subjective thoughts

behind his alleged statements.

        Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).




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        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 76:

        With regard to Tim Toohey's statements in February 2019 that five of Corvias' staffers at

Fort Bragg have separated with the company and that "We've seen some behaviors that are

completely unacceptable and we're making serious changes to move away from that behavior and

to put the right level of service," please produce all documents reflecting the identities of the

staffers, the relevant investigation into their conduct, the referenced behaviors, and the nature of

the purported serious changes.

RESPONSE TO REQUEST NO. 76:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope and time as it seeks documents without any limitation as to a starting or ending point in

time.

        Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "With regard to," "statements," "Corvias'," "staffers," "at Fort Bragg,"

"separated," "the company," "We've," "behaviors," "completely unacceptable," "we're," "serious

changes," "move away," "behavior," "right," "level of service," "identities," "relevant,"

"investigation," "their," "conduct," "referenced," "behaviors," "nature," and "purported" are

undefined. Corvias Management objects to the extent that the Request seeks documents protected

by the common interest rule, joint defense privilege, attorney client privilege, and/or the work

product doctrine. Corvias Management objects to the extent that the Request also assumes facts



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not in evidence, lacks foundation, and is based on hearsay and/or speculation. This Request asks

Corvias Management to improperly speculate as to a third party individual's subjective thoughts

behind his alleged statements.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 77:

       With regard to Tim Toohey's statements made at a Fort Bragg town hall meeting in

February 2019 that he was "appalled" by what he had seen and heard and that "We've made many

changes but have a lot of work," please produce all documents:

       a.      Reflecting any circumstances or conditions with regard to the military family

housing at Fort Bragg that Mr. Toohey or that Corvias found appalling;

       b.      Reflecting any changes made by Corvias as referenced by Mr. Toohey;

       c.      Reflecting any additional work to remedy matters, planned by Corvias as

referenced by Mr. Toohey.

RESPONSE TO REQUEST NO. 77:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is compound as it contains




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three separate subparts with individual document requests. Corvias Management objects to this

Request because it is not reasonably limited in scope and time as it seeks documents without any

limitation as to a starting or ending point in time.

       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "statements," "made at," "Fort Bragg," "town hall meeting," "appalled," "seen

and heard," "we," "many changes," "a lot of work," "reflecting," "circumstances," "conditions,"

"with regard to," "military family housing," "at Fort Bragg," "Corvias," "found," "appalling,"

"changes," "referenced," "additional work," "remedy matters," and "planned by" are undefined.

Corvias Management objects to the extent that the Request seeks documents protected by the

common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, and is based on hearsay and/or speculation. This Request asks Corvias

Management to improperly speculate as to a third party individual's subjective thoughts behind his

alleged statements.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.




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REQUEST FOR PRODUCTION NO. 78:

       With regard to John Picerne, Corvias founder and CEO's testimony at a Senate Armed

Services Committee hearing in February 2019, that "We let down some of our residents," and that

"I am sorry and we are going to fix it" please produce:

       a.        Documents identifying all residents to whom Mr. Picerne was referring to as being

residents whom Corvias let down;

       b.        All documents supporting Mr. Picerne's statement that Corvias let down some of

the residents;

       c.        All problems that Corvias has retrospectively identified as having existed in its Fort

Bragg housing prior to 2019; and

       d.        All steps taken by Corvias to fix the situation.

RESPONSE TO REQUEST NO. 78:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is compound as it contains

four separate subparts with individual document requests. Corvias Management objects to this

Request because it is not reasonably limited in scope and time as it seeks documents without any

limitation as to a starting or ending point in time. Corvias Management further objects to this

Request to the extent it seeks information related to absent members of the putative class.

       Corvias Management further objects to this Request as overly broad and vague because the

terms and phrases "With regard to," "we," "fix," "identifying," "supporting," "problems,"

"Corvias," "retrospectively," "identified," "having existed," "its," "Fort Bragg Housing," "steps

taken," "fix," and "the situation" are undefined. Corvias Management objects to the extent that the

Request seeks documents protected by the common interest rule, joint defense privilege, attorney




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client privilege, and/or the work product doctrine. Corvias Management objects to the extent that

the Request also assumes facts not in evidence, lacks foundation, and is based on hearsay and/or

speculation. This Request asks Corvias Management to improperly speculate as to a third party

individual's subjective thoughts behind his alleged statements.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 79:

       If Corvias has resolved any tenant complaints or claims regarding quality of their housing

and Corvias' service at Fort Bragg by payment of money, refund of BAH amounts, or other

payment or consideration, documents reflecting any such resolutions and payments.

RESPONSE TO REQUEST NO. 79:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms and phrases "Corvias," "resolved," "tenant complaints," "claims," "regarding,"

"quality," "their," "housing," "Corvias'," "service," "at Fort Bragg," "payment of money," "refund

of BAH amounts," "other payment or consideration," "reflecting," "any such resolution," and

"payments" are undefined. Corvias Management objects to the extent that the Request seeks




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documents protected by the common interest rule, joint defense privilege, attorney client privilege,

and/or the work product doctrine. Corvias Management further objects to this Request to the extent

it seeks information related to absent members of the putative class.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 80:

       Documents reflecting Corvias' efforts to move resident call centers back to local

installations instead of remote third-party call centers since 2018.

RESPONSE TO REQUEST NO. 80:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms and phrases "reflecting," "Corvias'," "efforts," "move," "resident call centers,"

"back to," "local installations," "remote," "third-party," and "call centers" are undefined. Corvias

Management objects to the extent that the Request seeks documents protected by the common

interest rule, joint defense privilege, attorney client privilege, and/or the work product doctrine.




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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 81:

       Documents reflecting Corvias' hiring of one or more consulting firms to review its mold

and mildew procedures since 2018; reflecting any documents or materials provided to or reviewed

by the consulting firm, and reflecting any analysis, reports, summaries or conclusions provided by

the consulting firm.

RESPONSE TO REQUEST NO. 81:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request as overly broad and vague

because the terms and phrases "reflecting," "Corvias'," "hiring," "consulting firms," "review,"

"mold and mildew procedures," "materials," "provided to," "reviewed by," "the consulting firm,"

"analysis," "reports," "summaries," and "conclusions" are undefined. Corvias Management objects

to the extent that the Request seeks documents protected by the common interest rule, joint defense

privilege, attorney client privilege, and/or the work product doctrine.

       Subject to and without waiving these objections, Corvias Management responds as follows:

Corvias Management will produce non-privileged, relevant documents located in a reasonable and

temporally-limited search, that are in its possession, custody, and/or control, once the parties

execute a Stipulated Order Regarding Confidentiality of Discovery Material and/or the Court

enters a confidentiality order.




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REQUEST FOR PRODUCTION NO. 82:

       Documents reflecting any air quality tests performed regarding any residential units at Fort

Bragg, since 2003, in your possession, custody or control.

RESPONSE TO REQUEST NO. 82:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this request because it is not reasonably limited

in scope or time as it seeks documents over a period of nearly twenty years. Corvias Management

further objects to this Request as overly broad and vague because the terms and phrases

"reflecting," "air quality tests," "performed," "regarding," "residential units," and "at Fort Bragg"

are undefined. Corvias Management objects to the extent that the Request seeks documents

protected by the common interest rule, joint defense privilege, attorney client privilege, and/or the

work product doctrine. Corvias Management further objects to this Request to the extent it seeks

information related to absent members of the putative class.

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 83:

       Documents reflecting any mold tests performed regarding any residential units at Fort

Bragg, since 2003, in your possession, custody or control.

RESPONSE TO REQUEST NO. 83:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this request because it is not reasonably limited

in scope or time as it seeks documents over a period of nearly twenty years. Corvias Management



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further objects to this Request as overly broad and vague because the terms and phrases

"reflecting," "mold tests," "performed," "regarding," "residential units," and "at Fort Bragg" are

undefined. Corvias Management objects to the extent that the Request seeks documents protected

by the common interest rule, joint defense privilege, attorney client privilege, and/or the work

product doctrine. In addition, as phrased, this Request essentially seeks any documentation

regarding any mold test(s) for over 6,000 family housing units, which seeks information and

documents not relevant to or necessary for resolving the disputes in this case. Corvias Management

further objects to this Request to the extent it seeks information related to absent members of the

putative class.

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 84:

       Documents reflecting all military families relocated to hotels due to Fort Bragg housing

conditions, since 2015.

RESPONSE TO REQUEST NO. 84:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "military families," "relocated," "hotels," "due to," and "Fort Bragg housing

conditions" are undefined. Corvias Management objects to the extent that the Request seeks

documents protected by the common interest rule, joint defense privilege, attorney client privilege,




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and/or the work product doctrine. Corvias Management further objects to this Request to the extent

it seeks information related to absent members of the putative class. In addition, as phrased, this

Request does not seek specific documents and Corvias Management is left to speculate regarding

what documents Plaintiffs seek.

        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 85:

        Documents reflecting Corvias' "comprehensive program to re-train its resident-facing

employees to provide the highest level of customer service" as per Corvias press release statements

dated April 2019, including documents identifying the nationally-designated trainer with

credentials from the National Apartment Association Education Institute, and reflecting

curriculum focusing on improving customer service and strengthening communication with and

for residents.

RESPONSE TO REQUEST NO. 85:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this request because it is not reasonably limited

in scope or time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "Corvias'," "comprehensive program," "re-train," "resident-facing,"

"employees," "provide," "highest level," "customer service," "Corvias press release statements,"

"identifying," "nationally-designated," "trainer," "credentials," "curriculum," "focusing,"




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"improving," "strengthening," "communication," and "residents" are undefined. In particular,

Corvias Management cannot ascertain what press release statements that Plaintiffs refer to in their

Request.

        Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

        For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.

REQUEST FOR PRODUCTION NO. 86:

        Documents identifying and summarizing the conditions of any housing at Fort Bragg that

was determined to have greater than normal amounts of mold for North Carolina, dating from

2015-present. 19

RESPONSE TO REQUEST NO. 86:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "identifying," "summarizing," "conditions," "any housing," "at Fort Bragg," "determined,"



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  See Alyson Hansen, CEO of Corvias visits Fort Bragg, The Paraglide, April 11, 2019, available at
https://static.dvidshub.net/media/pubs/pdf_47030.pdf (last accessed Jan. 2, 2022).


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"greater than normal," "amounts of mold," and "for North Carolina" are undefined. Corvias

Management further objects to this Request to the extent it seeks information related to absent

members of the putative class. In addition, as phrased, this Request essentially seeks any

documentation regarding "the conditions of any housing at Fort Bragg" for over 6,000 family

housing units for a period of over seven years.

       Corvias Management objects to the extent that the Request seeks documents protected by

the common interest rule, joint defense privilege, attorney client privilege, and/or the work product

doctrine. Corvias Management further objects to the extent that this Request seeks information

that was prepared in contemplation of or in response to the instant litigation by Defendants or

counsel thereof or any expert witness or consultant on behalf thereof, or which otherwise

constitutes or represents the mental impressions, conclusions, opinions, or legal theories of an

attorney or other representative of Defendants concerning the litigation. Corvias Management

further objects to this interrogatory as premature as the deadline for Corvias Management to

disclose its expert witnesses is not until November 18, 2022. Corvias Management will make its

expert witness disclosures consistent with the Court's Scheduling Order [Dkt. No. 68].

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.




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REQUEST FOR PRODUCTION NO. 87:

        Documents reflecting any Corvias audit, review or internal investigation determining in

2018-19 that due to staff decreases with DPW and Corvias, normal work orders and other housing

needs had not always been fulfilled as they should have been, resulting in homes falling in

disrepair.

RESPONSE TO REQUEST NO. 87:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to the extent that the Request seeks

documents protected by the common interest rule, joint defense privilege, attorney client privilege,

and/or the work product doctrine. Corvias Management further objects to the extent that this

Request seeks information that was prepared in contemplation of or in response to the instant

litigation by Defendants or counsel thereof or any expert witness or consultant on behalf thereof,

or which otherwise constitutes or represents the mental impressions, conclusions, opinions, or legal

theories of an attorney or other representative of Defendants concerning the litigation. Corvias

Management further objects to this Request to the extent it seeks information related to absent

members of the putative class.

        Subject to and without waiving these objections, Corvias Management states that it has no

such documents in its possession.

REQUEST FOR PRODUCTION NO. 88:

        Documents supporting Mr. Picerne's statements to the public and the press in 2019 that due

to staffing decreases, Fort Bragg community centers post-wide began losing their resident

specialists and documenting the level of staffing at those centers and the qualifications of those

staff persons, prior to 2019.




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RESPONSE TO REQUEST NO. 88:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this request because it is not reasonably limited

in scope or time as it seeks documents prior to 2019 without any limitation as to a starting point in

time. Corvias Management objects to this Request to the extent that it calls for the production of

documents which postdate the filing of the Complaint in this action. Corvias Management further

objects to this Request as overly broad and vague because the terms and phrases "Mr. Picerne's

statements," "to the public," "and the press," "staffing decreases," "Fort Bragg community centers,"

"post-wide," "losing," "resident specialists," "documenting," "level of staffing," "those centers,"

"qualifications," and "those staff persons" are undefined. Corvias Management objects to the

extent that the Request also assumes facts not in evidence, lacks foundation, and is based on

hearsay and/or speculation. In particular, Corvias Management cannot ascertain what public

statements or statements to the press that Plaintiffs refer to in their Request.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.




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REQUEST FOR PRODUCTION NO. 89:

       Documents reflecting a 500 percent increase in work order calls since the beginning of

2019, in the January to April 2019 time period, at Fort Bragg.

RESPONSE TO REQUEST NO. 89:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "work order calls," "beginning of 2019," "in the January," "April 2019 time

period," and "at Fort Bragg" are undefined. Corvias Management objects to the extent that the

Request also assumes facts not in evidence, lacks foundation, and is based on hearsay and/or

speculation. In particular, Corvias Management cannot ascertain how Plaintiffs have arrived at the

"500 percent increase in work order calls" as the premise to the Request. Corvias Management

further objects to this Request to the extent it seeks information related to absent members of the

putative class.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       For the foregoing reasons, the Request is overly broad, unduly burdensome, and seeks

information and documents not relevant to or necessary for resolving the disputes in this case, thus

it is not proportional to the needs of this case. Corvias Management stands on its objections.




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REQUEST FOR PRODUCTION NO. 90:

           Documents reflecting a work order application that was being developed for smart phones

for Corvias tenants as described in public statements and news reports circa 2019 and reflecting

its rollout for Fort Bragg tenants.

RESPONSE TO REQUEST NO. 90:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this request as vague and overbroad as to

time. Corvias Management objects to this Request to the extent that it calls for the production of

documents which postdate the filing of the Complaint in this action. Corvias Management further

objects to this Request as overly broad and vague because the terms and phrases "reflecting," "work

order application," "being developed," "for smart phones," "Corvias tenants," "described," "public

statements," "news reports," "circa 2019," "reflecting," "its," "rollout," and "Fort Bragg tenants"

are undefined.

           Corvias Management objects to the extent that the Request also assumes facts not in

evidence, lacks foundation, and is based on hearsay and/or speculation. In particular, Corvias

Management cannot ascertain what "public statements and news reports circa 2019" Plaintiffs

reference in their Request. The phrase "work order application" is also vague and ambiguous in

this context. Based on the foregoing objections, Corvias Management cannot respond to this

unintelligible request.

REQUEST FOR PRODUCTION NO. 91:

           According to a Corvias press release dated April 29, 2019, 20 Corvias manages 6,150 homes

at Fort Bragg and handles an average of more than 55,300 service requests per year. In another



20
     https://www.corvias.com/news/corvias-announces-job-opportunities-available-fort-bragg.


                                         105
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document, Corvias has stated that "to date we have responded to over 720,000 service calls at Fort

Bragg." 21 Accordingly, then, it appears that Corvias has in some manner organized and indexed

its service records. If Defendant agrees that these records may be produced based on a reasonable

search and without an undue burden, then please produce all such records since 2010. If Defendant

contends that it would not be feasible, or would cause an undue burden, to require Defendant to

produce such records, then please produce documents sufficient to describe how those service

requests have been documented, their status as hardcopy or electronic documents, their places of

storage, and identifying the document custodians of those records.

RESPONSE TO REQUEST NO. 91:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request because it is not reasonably limited

in scope or time as it seeks documents over a period of twelve years. Corvias Management objects

to this Request to the extent that it calls for the production of documents which postdate the filing

of the Complaint in this action. Corvias Management further objects to this Request as overly

broad and vague because the terms and phrases "Corvias," "appears that," "in some manner,"

"organized," "indexed," "service records," "such records," "sufficient," "describe," "service

requests," "documented," "status," "reflecting," "places of storage," "identifying," "document

custodians," and "those records" are undefined. Corvias Management objects to the extent that the

Request also assumes facts not in evidence, lacks foundation, and is based on hearsay and/or

speculation.

           Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,



21
     https://www.corvias.com/sites/default/files/Projects/Fort_Bragg.pdf


                                         106
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common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

           Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 92:

           With regard to the 2019 Summary of the Headquarters Department of the Army Residential

Communities Initiative Resident Survey (on-base), CEL & Associates, Inc., July 2019, 22 please

produce all documents reflecting any efforts by Corvias to critique or refute this survey, or to take

actions based on its findings.

RESPONSE TO REQUEST NO. 92:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "With regard to," "reflecting," "efforts," "Corvias," "critique," "refute," "this survey,"

"actions," and "its findings" are undefined.

           Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that




22
     https://www.army.mil/e2/downloads/rv7/qualityoflife/Army_Privatized_Housing_Survey_Results_EXSUM.pdf


                                        107
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is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

           Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 93:

           In July 2019, Sharon Shores publicly stated that Corvias now has maintenance technicians

assigned to specific neighborhoods and launched a phone application and website in May 2019 so

residents can report issues in their homes and track when they will be resolved, along with the

work order status. 23 Please produce documents reflecting when these changes were made to

Corvias practices, reflecting the current policies and procedures applicable to maintenance

technicians, and describing the phone application and website.

RESPONSE TO REQUEST NO. 93:

           Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "Corvias," "maintenance technicians," "assigned," "neighborhoods," "launched," "phone

application," "website," "residents," "report issues," "track," "they," "resolved," "work order

status," "reflecting," "changes," "Corvias practices," "policies and procedures," "applicable," and

"describing" are undefined. Corvias Management objects to the extent that the Request also

assumes facts not in evidence, lacks foundation, and is based on hearsay and/or speculation.


23
     Riley 2019.


                                         108
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          Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

          Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 94:

          In September 2019, it was reported that a total of 280 homes on Fort Bragg were being

extensively torn down and renovated, while several thousand more will get new heating and

cooling systems and other improvements. 24 Please products documents identifying the addresses,

community locations and floor plans of these units.

RESPONSE TO REQUEST NO. 94:

          Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "it was reported," "homes," "on Fort Bragg," "torn down," "renovated," "several thousand

more," "heating and cooling systems," "other improvements," "products," "addresses,"

"community locations," "floor plans," and "these units" are undefined. Corvias Management

objects to the extent that the Request also assumes facts not in evidence, lacks foundation, and is


24
     Homefront 2019.


                                        109
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based on hearsay and/or speculation. Corvias Management further objects to this Request to the

extent it seeks information related to absent members of the putative class.

       Corvias Management further objects to the extent that this Request: (a) seeks a compilation,

summary, or abstract to the extent protected by the work product doctrine, attorney client privilege,

common interest rule, and/or joint defense privilege; and (b) is in fact a written interrogatory that

is improperly phrased as a request for production and intended to circumvent the limitation on

number of written interrogatories pursuant to Federal Rule of Civil Procedure 33(a)(1).

       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 95:

       Documents reflecting any per diem payments made to displaced families at Fort Bragg.

RESPONSE TO REQUEST NO. 95:

       Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "reflecting," "per diem," "payments," "displaced," "families," and "at Fort Bragg" are

undefined. Corvias Management further objects to this Request to the extent it seeks information

related to absent members of the putative class.




                                     110
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        Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 96:

        Documents identifying all residents/families relocated either to hotels or to other housing,

either temporary or permanent, at Fort Bragg, as a result of complaints or concerns over housing

conditions at Fort Bragg in their original housing units.

RESPONSE TO REQUEST NO. 96:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time as it seeks documents without any limitation as to a starting or ending

point in time. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "identifying," "residents/families," "relocated," "hotels," "other housing," "temporary,"

"permanent," "at Fort Bragg," "as a result of," "complaints," "concerns," "housing conditions,"

"their," and "original housing units" are undefined. Corvias Management objects to the extent that

the Request seeks documents protected by the common interest rule, joint defense privilege,

attorney client privilege, and/or the work product doctrine. Corvias Management further objects

to this Request to the extent it seeks information related to absent members of the putative class.

Corvias Management further objects that this Request is duplicative to Request No. 84 and refers

Plaintiffs to that response.




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REQUEST FOR PRODUCTION NO. 97:

        Documents identifying the homes subject to the investment described in Corvias public

statements in 2020 of more than $100 million for Fort Bragg that includes $25.2 million for about

132 homes in the Pope Army Airfield area that were built in the 1960s, under a plan by which the

homes would be effectively gutted to the interior studs to provide a more open floor plan, installing

new electrical and energy-efficient mechanical systems, updating heating and air conditioning

ventilation systems, and updating flooring. 25

RESPONSE TO REQUEST NO. 97:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management objects to this Request to the extent that it calls for the

production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "identifying," "homes," "described," "Corvias," "public filings," "for Fort Bragg," "for

about 132 homes," "Pope Army airfield area," "the homes," "effectively gutted," "interior studs,"

"more open," "floor plan," "new," "electrical," "energy-efficient," "mechanical systems,"

"updating," "heating," "air conditioning," "ventilation," "systems," and "flooring" are undefined.

Corvias Management objects to the extent that the Request also assumes facts not in evidence,

lacks foundation, and is based on hearsay and/or speculation. Corvias Management further objects

to this Request to the extent it seeks information related to absent members of the putative class.




25
  See https://www.fayobserver.com/story/news/2020/09/03/secretary-army-returns-fort-bragg-check-military-
housing/5697213002/ (last accessed Jan. 2, 2022).


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        Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

REQUEST FOR PRODUCTION NO. 98:

        Corvias has described that it now provides prospective tenants with a Seven-Year

Maintenance History that allows prospective renters to see the service work order history for the

property they are contemplating to lease. As to each unit for which in response to these discovery

requests you are producing tenant complaint, repair and maintenance files, please also produce the

Seven-Year Maintenance History for those units. Please include the Seven-Year Maintenance

History for each residential unit at issue for each named Plaintiff, and for each other unit located

in their buildings.

RESPONSE TO REQUEST NO. 98:

        Corvias Management incorporates by reference each of its Recurring Objections as if fully

set forth herein. Corvias Management further objects to this Request because it is not reasonably

limited in scope and time. Corvias Management objects to this Request to the extent that it calls

for the production of documents which postdate the filing of the Complaint in this action. Corvias

Management further objects to this Request as overly broad and vague because the terms and

phrases "Corvias," "has described," "prospective tenants," "Seven-Year Maintenance History,"

"allows," "prospective renters," "see," "service order," "work history," "the property," "they,"

"contemplating,"      "lease,"   "each   unit,"   "producing,"   "tenant,"   "complaint,"   "repair,"

"maintenance," "files," "each residential unit," "at issue," "named Plaintiff," "each other unit,"

"located," and "in their buildings" are undefined. Corvias Management further objects to this

Request to the extent it seeks information related to absent members of the putative class.



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       Subject to and without waiving these objections, Corvias Management is willing to meet

and confer with Plaintiffs to better define this Request, or to respond to a more narrowly tailored

Request seeking relevant information proportional to the needs of this case.

Date: March 16, 2022                                 Respectfully submitted,


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* Specially admitted



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 16, 2022, a true and correct copy of the foregoing was

served via email to counsel for Plaintiffs registered with CM/ECF.

                                                                   /s/                 .
                                                    Jessica L. Farmer




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